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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION


                                                            Case No. 19 C 8318
    IN RE TURKEY ANTITRUST LITIGATION
                                                            Judge Sunil R. Harjani



                            MEMORANDUM OPINION AND ORDER

         This is an antitrust action against the nation’s largest turkey processors, who collectively

control over 80% of the market for turkey products. The purchasers of these turkey products allege

that from January 1, 2010 through December 31, 2016, the Processor Defendants 1 and their co-

conspirators entered into an agreement to exchange competitively sensitive and non-public

information about production plans and pricing data through Defendant Agri Stats and Express

Markets International, Inc. (EMI) 2 to limit supply and increase prices in the turkey market.3

Plaintiffs contend the exchange of information through Agri Stats/EMI and other channels was an

unreasonable restraint of trade in violation of Section 1 of the Sherman Act, 15 U.S.C. § 1, resulting

in restrained supply and unlawfully stabilized or increased prices for the turkey products at issue.

The two sets of Plaintiffs—the Direct Purchaser Plaintiffs (DPPs) and the Commercial and


1
  For purposes of this opinion, the Processor Defendants are Butterball, Cargill, Cooper Farms, Farbest,
Foster Farms, Hormel, House of Raeford, Perdue, and Prestage. On January 15, 2025, the Direct Purchaser
Plaintiffs filed a motion for preliminary approval of their settlement agreement with Cargill, which is set
for a hearing on January 30, 2025. Doc. 1098. The Direct Purchaser Plaintiffs and Commercial and
Institutional Indirect Purchaser Plaintiffs previously settled with Tyson, and the prior district judge assigned
to this case certified these settlement classes. See Docs. 265, 433.
2
  Defendant Agri Stats provided information exchange services to the Processor Defendants for a
subscription fee. EMI is a wholly-owned Agri Stats subsidiary.
3
 This litigation consists of five consolidated antitrust lawsuits. A sixth lawsuit, Carina Ventures LLC v. Agri
Stats, Inc., No. 23 C 16948 (N.D. Ill), has been found related to this litigation pursuant to Local Rule 40.4
and assigned to this Court but has not been consolidated with this case.
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Institutional Indirect Purchasers (CIIPPs)—allege that the challenged conduct is a per se violation

of the Sherman Act as well as unlawful under a rule of reason analysis. The CIIPPs also bring

claims under various state laws for the same conduct.

         Pursuant to Federal Rule of Civil Procedure 23, these two groups of turkey purchasers now

seek class certification. Both sets of Plaintiffs rely on expert opinions in support of their class

certification motions. The DPPs offer opinions from Dr. Michael A. Wiliams, and the CIIPPs

offer Dr. Russell W. Mangum III’s opinions. In response, Defendants move to exclude Williams’

transaction-level impact opinion, his correlation opinion, and his causation opinion and Mangum’s

overcharge and pass-through opinions. Defendants offer the opinions of their own expert, Dr.

Lauren Stiroh, and Plaintiffs request exclusion of two of her opinions. The Court heard testimony

from these experts on October 9 and 10, 2024 and oral argument by counsel on October 28, 2024.

In this opinion, the Court addresses both class certification motions and the parties’ motions to

exclude expert testimony pursuant to Federal Rule of Evidence 702 and Daubert v. Merrell Dow

Pharmaceuticals, Inc., 509 U.S. 579 (1993). 4

         What follows is a lengthy discussion and resolution of the parties’ myriad arguments on

these issues. But, at a more general level, the Court finds Defendants’ objections to Williams’ and

Mangum’s analyses go to the weight, not the admissibility, of the evidence and that these are issues

that must be resolved by the trier of fact, not through a Daubert motion. It is important to note

that Daubert requires only a reliable methodology, and not a perfect one. For the Court to reject

Dr. Williams' and Mangum’s proposed regression analyses, which appear to follow well-accepted


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  DPPs also move to strike exhibits 81 and 123-125 submitted by Defendants in support of their opposition
to DPPs’ class certification motion, or in the alternative, request to submit responding exhibits set forth in
exhibits 171 and 185 in support of DPPs’ class certification reply brief [941]. The motion to strike
Defendants’ exhibits 81 and 123-125 is denied. The Court grants DPPs’ request to file exhibits 171 and
185 as unopposed.


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regression methodology, would be inappropriate at this juncture. Stated simply, Defendants’

criticisms do not preclude the Court from considering Williams’ and Mangum’s conclusions when

deciding whether to allow this litigation to proceed as a class action. Furthermore, Defendants’

primary challenge to certification is on the predominance requirement of Rule 23(b)(3), and they

contend that Plaintiffs have failed to demonstrate that their regression models, along with other

expert evidence, are capable of showing that the alleged price-fixing conspiracy caused class-wide

impact. However, in short, the Court concludes that Williams’ and Mangum’s opinions support

class certification because they offer a sufficiently plausible class-wide methodology to prove

antitrust impact. In other words, Plaintiffs have demonstrated that it is possible to use common

evidence that, if believed, would show that all or nearly all class members suffered antitrust injury

as a result of the alleged conspiracy. For current purposes, “that is all that is necessary to show

predominance for purposes of Rule 23(b)(3).” Messner v. Northshore Univ. Health Sys., 669 F.3d

802, 818 (7th Cir. 2012). And even if a trier of fact were to ultimately reject Williams’ and

Mangum’s analyses because of their alleged flaws, that would not be a basis for rejecting class

certification because “Rule 23(b)(3) requires a showing that questions common to the class

predominate, not that those questions will be answered, on the merits, in favor of the class.” Amgen

Inc. v. Conn. Ret. Plans & Trust Funds, 568 U.S. 455, 459 (2013).

                                          DISCUSSION

       To certify a class, Plaintiffs must satisfy the requirements of Rule 23(a)—numerosity,

commonality, typicality, and adequacy of representation—and one of the Rule 23(b) subsections.

Kleen Prod. LLC v. Int’l Paper Co., 831 F.3d 919, 923 (7th Cir. 2016). As Rule 23 “does not set

forth a mere pleading standard,” plaintiffs must “satisfy through evidentiary proof” each of Rule

23’s elements. Comcast Corp. v. Behrend, 569 U.S. 27, 33 (2013). “[T]he court must satisfy itself



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with a ‘rigorous analysis’ that the prerequisites of certification are met, even if that analysis ‘has

some overlap with the merits of the plaintiff’s underlying claim.’” Dancel v. Groupon, Inc., 949

F.3d 999, 1005 (7th Cir. 2019) (quoting Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350-51

(2011)).    But “[i]n conducting [the Rule 23] analysis, the court should not turn the class

certification proceedings into a dress rehearsal for trial on the merits.” Messner, 669 F.3d at 811;

Dancel, 949 F.3d at 1005 (the class analysis involves “a peek at the merits that is limited to those

aspects of the merits that affect the decisions essential under Rule 23.”) (internal quotes and

citation omitted). Plaintiffs bear the burden of showing that a proposed class satisfies the Rule 23

requirements by a preponderance of the evidence. Messner, 669 F.3d at 811. Finally, district courts

have broad discretion in determining whether a proposed class satisfies Rule 23. Jacks v. DirectSat

USA, LLC, 118 F.4th 888, 894 (7th Cir. 2024).

         DPPs propose to certify a direct purchaser class defined as follows:

         All persons and entities who directly purchased fresh or frozen, uncooked turkey
         breast, ground turkey, or whole bird turkey products (the “Class Products”) from
         Defendants in the United States during the Class Period.

Doc. 830 at 10. CIIPPs seek to certify the following class for injunctive relief under Rule 23(b)(2)

and monetary damages under Rule 23(b)(3): 5

         All entities in the Indirect Purchaser States that indirectly purchased fresh or frozen,
         uncooked turkey breast, ground turkey, or whole bird turkey products sold by
         Defendants in the United States during the Class Period for their own use in
         commercial food preparation. 6

5
  CIIPPs assert claims under the Sherman Act to secure injunctive relief for Class members in Indirect
Purchaser States; claims for violations of state antitrust laws to secure damages; and claims for unjust
enrichment and violations of state consumer protection law predicated on Defendants’ alleged antitrust
violations. The Indirect Purchaser States are: Arizona, Arkansas, California, the District of Columbia,
Florida, Illinois, Iowa, Kansas, Maine, Michigan, Minnesota, Missouri, Mississippi, North Carolina, North
Dakota, Nebraska, New Hampshire, New Mexico, Nevada, New York, Oregon, Rhode Island, South
Carolina, South Dakota, Tennessee, Utah, Vermont, Wisconsin, and West Virginia.
6
 Specifically excluded from this Class are the Defendants and their alleged Co-Conspirators; the officers,
directors or employees of any Defendant or alleged Co-Conspirator; any entity in which any Defendant or

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Doc. 828 at 2. The Class Period for both proposed classes is January 1, 2010 through December

31, 2016.

                                       I. Rule 23(a) Requirements

        A. Numerosity

        Rule 23(a) requires the class to be “so numerous that joinder of all members is

impracticable.” Fed. R. Civ. P. 23(a)(1). The Seventh Circuit has recognized that “a forty-member

class is often regarded as sufficient to meet the numerosity requirement.” Anderson v. Weinert

Enters., Inc., 986 F.3d 773, 777 (7th Cir. 2021). Defendants do not contest that both classes satisfy

this requirement. DPPs contain 1,675 customers that purchased turkey directly from Defendants.

Doc. 830-2, Williams Report ¶ 426. CIIPPs consist of restaurants, caterers, and other institutional

food service providers, such as private schools and company cafeterias, that purchased turkey

products indirectly from the Processor Defendants for use in commercial food preparation. It is

indisputable that this class is also numerous, as CIIPPs’ expert used a data set of 234,171 customers

for his analysis. Doc. 839-3 Mangum Reply ¶ 195. Of course, joinder of this many potential class

members is impracticable, and numerosity is easily met.

        B. Commonality
        To demonstrate commonality under Rule 23(a)(2), a plaintiff must show that “there are

questions of law or fact common to the class.” Fed. R. Civ. P. 23(a)(2). For purposes of Rule

23(a)(2), “even a single common question will do.” Wal-Mart Stores, Inc., 564 U.S. at 359.




their alleged Co-Conspirator has a controlling interest; any entity with an interest, controlling or non-
controlling, in a Defendant or their alleged Co-Conspirator; any (in whole or in part), affiliate, legal
representative, heir or assign of any Defendant or their alleged Co-Conspirator. Also excluded from this
Class are any federal, state or local governmental entities, any judicial officer presiding over this action and
the members of his/her immediate family and judicial staff, any juror assigned to this action, and any alleged
Co-Conspirator identified in this action.

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“Where an antitrust conspiracy has been alleged, courts have consistently held that the very nature

of a conspiracy antitrust action compels a finding that common questions of law and fact exist.”

Moehrl v. Nat’l Ass’n of Realtors, 2023 WL 2683199, at *11 (N.D. Ill. Mar. 29, 2023) (internal

quotes and citation omitted). Here, the existence of the alleged conspiracy, how it operated,

whether the conspiracy caused the price increases, and the appropriate measure of damages are all

questions that will be common to all class members and satisfy the commonality requirement. Id.

(“[B]ecause proof of the alleged conspiracy focuses on the defendants’ standardized conduct as

opposed to the conduct of individual class members, antitrust liability alone constitutes a common

question that will resolve an issue that is central to the validity of each class member's claim in

one stroke.”) (internal quotes and citation omitted); see also In re Broiler Chicken Antitrust Litig.

2022 WL 1720468, at *5 (N.D. Ill. May 27, 2022) (“Broilers”). As a result, Plaintiffs satisfy the

commonality requirement.

       C. Typicality

       Rule 23(a)(3) is satisfied if “the claims or defenses of the representative parties are typical

of the claims or defenses of the class.” Fed. R. Civ. P. 23(a)(3). “As a general matter, a plaintiff's

claim is typical if it arises from the same event or practice or course of conduct that gives rise to

the claims of other class members and his or her claims are based on the same legal theory.”

Howard v. Cook Cnty. Sheriff's Off., 989 F.3d 587, 605 (7th Cir. 2021) (internal quotes and citation

omitted). For purposes of the typicality requirement, “[t]he individual claims may feature some

factual variations as long as they have the same essential characteristics.” Beaton v. SpeedyPC

Software, 907 F.3d 1018, 1026 (7th Cir. 2018) (internal quotes and citation omitted). “The logic

behind the typicality requirement is that a class representative will adequately pursue her own

claims, and if those claims are typical of those of the rest of the class, then her pursuit of her own



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interest will necessarily benefit the class as well.” Howard, 989 F.3d at 605 (internal quotes and

citation omitted).

          An “antitrust price fixing case generally will involve claims sufficiently similar to satisfy

Rule 23(a)(3).” In re Workers’ Compensation, 130 F.R.D. 99, 106 (D. Minn. 1990). If the class

representatives must prove “a conspiracy, its effectuation, and damages therefrom—precisely what

the absentees must prove to recover—the representative claims can hardly be considered atypical.”

Id. (internal quotes and citation omitted); Moehrl, 2023 WL 2683199, at *12 (in the antitrust

context, “typicality will be established by plaintiffs and all class members alleging the same

antitrust violation by the defendants.”). Similarly here, typicality is met because each proposed

class representative claims that Defendants conspired to restrict supply and inflate turkey prices

above competitive levels.

          On this issue, Defendants argue DPPs fail to satisfy typicality because “[n]amed Plaintiffs

John Gross and Maplevale purchased Class Products at non-negotiated prices and in relatively

small volumes, making them different from many putative class members.” 7 Doc. 877 at 68-69.

Factually, this appears to be incorrect as to named Plaintiffs’ negotiating abilities based on the

record evidence. Maplevale’s merchandising manager Julie Dunderdale testified that she would

“negotiate with its turkey suppliers on things like price” on “larger volume items like raw

commodity breasts [and] full turkeys.” Doc. 938-50, Dunderdale 30(b)(6) Dep. 173:8-174:1.

Likewise, John Gross’ Vice President Scott Wagner testified that he would negotiate when

purchasing turkey based on market prices. Doc. 938-51, Wagner Dep. 221:21-222:19. But more

importantly, this very argument regarding negotiating abilities and purchase volume disparities

was rejected under analogous circumstances in Broilers, a similar antitrust action alleging price



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    Defendant do not contest that the CIIPPs satisfy the typicality requirement.

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fixing in the chicken industry. For simplicity and to avoid repetition, the Court agrees with and

adopts the reasoning of the district court in Broilers on this issue. Broilers, 2022 WL 1720468, at

*5 (“differences in bargaining power do not undermine typicality”); see also In re Pork Antitrust

Litig., 665 F. Supp.3d 967, 998 (D. Minn. 2023) (“Pork”). As a result, the Court finds that

typicality is established.

        D. Adequacy of Representation

        Finally, Rule 23(a)(4) requires that “the representative parties will fairly and adequately

protect the interests of the class.” Fed. R. Civ. P. 23(a)(4). “This inquiry ‘serves to uncover

conflicts of interest between named parties and the class they seek to represent.’” Howard, 989

F.3d at 609 (quoting Amchem Prod., Inc. v. Windsor, 521 U.S. 591, 625 (1997)). In assessing

adequacy, the court evaluates “the adequacy of the named plaintiffs as representatives of the

proposed class's myriad members, with their differing and separate interests,” and “the adequacy

of the proposed class counsel.” Gomez v. St. Vincent Health, Inc., 649 F.3d 583, 592 (7th Cir.

2011); Rosario v. Livaditis, 963 F.2d 1013, 1018 (7th Cir. 1992) (“A class is not fairly and

adequately represented if class members have antagonistic or conflicting claims.”).

        Defendants again take issue with the named Plaintiffs John Gross and Maplevale for the

DPPs. Defendants argue these named Plaintiffs are inadequate DPP representatives because they

passed on 100% or more of the alleged overcharge to their own customers. Consequently,

Defendants contend there is a fundamental conflict between John Gross and Maplevale on the one

hand and putative class members who did not pass on at least 100% of the alleged overcharge. As

primary support for this argument, Defendants cite Pork, 665 F. Supp.3d at 999, and Valley Drug

Co. v. Geneva Pharms., Inc., 350 F.3d 1181 (11th Cir. 2003) (the only case on which Pork relied).

But the Supreme Court has held that “antitrust injury is considered complete when the direct



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purchaser pays an illegal overcharge and whether he was able to pass through the overcharge to

indirect purchasers is irrelevant to the inquiry.” Meijer, Inc. v. Warner Chilcott Holdings Co., 246

F.R.D. 293, 303, 305 (D.D.C. 2007) (citing Hanover Shoe, Inc. v. United Shoe Machinery Corp.,

392 U.S. 481, 489 (1968), and Illinois Brick Co. v. Illinois, 431 U.S. 720, 724-25 (1977)).

Moreover, one district court has observed that Valley Drug “has been met with almost universal

criticism” as courts “adhere instead to the principles announced in Hannover Shoe and Illinois

Brick.” In re Glumetza Antitrust Litig., 2020 WL 3498067, at *12, 14 (N.D. Cal. June 29, 2020)

(collecting cases) (rejecting request for downstream data discovery purportedly relevant to

adequacy). The Third Circuit has similarly held that “requiring plaintiffs to show that no class

member benefited from the challenged conduct in the form of greater profits is contrary to the

Supreme Court’s decision in Hanover Shoe.” In re K-Dur Antitrust Litig., 686 F.3d 197, 223 (3d

Cir. 2012), judgment vacated on other grounds, 570 U.S. 913 (2013). The Court is further

persuaded by the reasoning of the Third Circuit, which noted that “because Hanover Shoe sets the

amount of the overcharge as plaintiffs’ damages, all of the class members have the same financial

incentive for purposes of the litigation—i.e. proving that they were overcharged and recovering

damages based on that overcharge.” Id; see also In re Wellbutrin SR Direct Purchaser Antitrust

Litig., 2008 WL 1946848, at *6 (E.D. Pa. May 2, 2008) (declining to follow the “conflict” rationale

adopted in Valley Drug “[b]ecause all class members have the right to pursue overcharge damages,

and there is no conflict among class members allegedly harmed by the same violation.”).

Accordingly, the Court finds that Defendants’ conflict argument fails to demonstrate that John

Gross and Maplevale are inadequate representatives for the DPPs. 8


8
 Defendants assert the same argument in response to DPPs’ motion to exclude as irrelevant Stiroh’s opinion
that some DPPs have not suffered economic injury because they may have passed through some, or all, of
the overcharge resulting from the alleged conspiracy by reselling turkey meat to their customers. Once
again, under Illinois Brick, “a [direct] purchaser is entitled to the full value of the damages stemming from

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        Defendants also object that Logan Farms is an inadequate class representative for the CIIPP

class because it made direct purchases of turkey breast products from Cargill in the fourth quarter

of most years. According to Defendants, these direct purchases show that Logan Farms is “unable

to adequately represent unique interests of the proposed CIIPP class.” Doc. 888 at 48. However,

Defendants do not contest Logan Farms purchased most of its turkey products via distributors.

And the CIIPP class definition does not exclude an indirect purchaser that also purchased turkey

product directly from a Defendant. Nor do Defendants explain how these direct purchases from

Cargill make Logan Farms adverse to CIIPPs’ interests. Standing alone, Logan Farms’ direct

purchases do not indicate that its interests are “antagonistic or conflicting” with those of the CIIPP

class’s interests. Rather, as far as the Court can tell, Logan Farms shares the same interest of

maximizing the recovery that indirect purchasers obtain.               Consequently, the Court rejects

Defendants’ challenge to Logan Farms as a class representative. See Broilers, 2022 WL 1720468,

at *4 (rejecting defendants’ argument that End Users’ class representatives were inadequate and

finding that “while these individuals may have sometimes made purchases of chicken products

outside the class definition, the End Users have presented evidence that they all also made

purchases that are within the class definition.”); Fond Du Lac Bumper Exch., Inc. v. Jui Li

Enterprise Co., 2016 WL 3579953, at *4 (E.D. Wis. June 24, 2016) (“The class representatives []




the overcharge, even if it passed on some or all of the overcharge to downstream purchasers and
consequently mitigated the damage it suffered.” Marion Healthcare, LLC v. Becton Dickinson & Co., 952
F.3d 832, 838 (7th Cir. 2020); see also Hanover Shoe, Inc., 392 U.S. at 489. Because Defendants cannot
use the potential pass-through of an overcharge by direct purchasers as purported lack of economic injury,
Stiroh’s economic injury opinions are not relevant to adequacy. See In re Dealer Mgmt. Sys. Antitrust Litig.,
581 F. Supp.3d 1029, 1063 (N.D. Ill. 2022) (excluding expert opinion that was contrary to Illinois Brick as
“[e]xpert opinions that are contrary to law are inadmissible.”). DPPs’ motion to exclude [833] Stiroh’s
opinion that some DPPs have not suffered economic injury because they may have passed through some,
or all, of the overcharge resulting from alleged conspiracy to their customers is therefore granted for
purposes of the pending motion for class certification.

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made direct purchases from defendants, and defendants do not explain how the existence of other

purchases creates antagonism with class members, and I fail to see how they would.”).

       The Court further concludes, and Defendants do not contest, that class counsel have

demonstrated their adequacy. See Fed. R. Civ. P. 23(g). Plaintiffs therefore meet the requirements

of Rule 23(a)(4).

                                 II. Rule 23(b)(2) Requirements

       Having concluded that both classes satisfy the Rule 23(a) factors, the Court turns to Rule

23(b)’s requirements. CIIPPs initially seek certification of a Rule 23(b)(2) class to pursue

injunctive and declaratory relief. Rule 23(b)(2) permits certification when a defendant “has acted

or refused to act on grounds that apply generally to the class, so that final injunctive relief or

corresponding declaratory relief is appropriate respecting the class as a whole.” Fed. R. Civ. P.

23(b)(2). “If the Rule 23(a) requirements are met and the plaintiffs seek injunctive or declaratory

relief, certification under Rule 23(b)(2) is generally appropriate.” Pork, 665 F. Supp. 3d at 1010.

Moreover, the “Seventh Circuit has indicated its approval of separate damages and injunctive relief

classes.” Moehrl, 2023 WL 2683199, at *23.

       CIIPPs argue that they satisfy the requirements of Rule 23(b)(2) because they seek

injunctive and declaratory relief protecting them from anticompetitive conduct, and particularly,

Defendants continued sharing of competitively sensitive information via Agri Stats and other

means. Given that CIIPPs have satisfied Rule 23(a) and they seek a single injunction and

declaratory judgment that applies generally to the class, the Court finds that certification under

Rule 23(b)(2) is proper. 9 Chi. Teachers Union, Local No. 1 v. Bd. of Educ. of City of Chi., 797

F.3d 426, 443 (7th Cir. 2015) (“A Rule 23(b)(2) class is appropriate if “a single injunction or


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 Defendants do not challenge the propriety of certifying an injunctive and declaratory class under Rule
23(b)(2).

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declaratory judgment would provide relief to each member of the class.”) (quoting Wal-Mart, 564

U.S. at 360).

                                III. Rule 23(b)(3) Requirements

       To qualify for certification under Rule 23(b)(3), a damages class must show that “questions

of law or fact common to class members predominate over any questions affecting only individual

members, and that a class action is superior to other available methods for fairly and efficiently

adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3). Defendants primarily focus their fire on

the issue of predominance, by seeking to exclude Plaintiffs’ experts under Daubert and then

challenging their opinions with a defense expert.        The remainder of this opinion resolves

Defendants’ challenges under Rule 23(b)(3).

       A. Predominance

       “Predominance is satisfied when common questions represent a significant aspect of a case

and . . . can be resolved for all members of a class in a single adjudication.” Kleen, 831 F.3d at 925

(internal quotes and citation omitted). In analyzing predominance, “courts [] give careful scrutiny

to the relation between common and individuals questions.” Tyson Foods, Inc. v. Bouaphakeo, 577

U.S. 442, 453 (2016). “An individual question is one where members of a proposed class will

need to present evidence that varies from member to member, while a common question is one

where the same evidence will suffice for each member to make a prima facie showing [or] the

issue is susceptible to generalized, class-wide proof.” Id. (internal quotes and citation omitted).

“[C]ommon questions predominate where the case claims the existence of a widespread or uniform

practice.” Ross v. Gossett, 33 F.th 433, 439 (7th Cir. 2022). The Supreme Court has noted that the

predominance standard for Rule 23(b)(3) is “more demanding” than the commonality requirement

of Rule 23(a). Comcast, 569 U.S. at 34. However, it has also noted that “[p]redominance is a test



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readily met in certain cases alleging . . . violations of the antitrust laws.” Amchem Prods., Inc., 521

U.S. at 625.

        When making the predominance determination under Rule 23(b)(3), the Court begins “with

the elements of the underlying cause of action.” Messner, 669 F.3d at 815 (internal quotes and

citation omitted). Here, Plaintiffs bring two Sherman Act claims both for violation of Section 1:

a rule-of-reason claim, based on Defendants’ use of Agri Stats/EMI, and a per se conspiracy

claim. 10 Each claim requires proof of (1) “a violation of antitrust law,” (2) “individual injury, or

impact, caused by that violation,” and (3) “measurable damages.” Reed v. Advoc. Health Care,

268 F.R.D. 573, 581 (N.D. Ill. 2009). 11 To obtain class certification, plaintiffs must show that

common proof will predominate with respect to each of these elements of their claims—not that

the class will prevail as to those common questions. Id; Ross, 33 F.4th at 442.

                1. Antitrust Conspiracy

        On the first element of Plaintiffs’ antitrust claims, DPPs argue that common evidence,

including Defendants’ own documents and testimony, will be used to prove that Defendants formed

a per se illegal conspiracy. Further, in support of DPPs’ rule of reason claim, Williams will offer

testimony, common to the class, explaining that Defendants’ data exchanges through Agri Stats

and EMI were consistent with collusion and had anticompetitive effects as well as economic




10
   “Under a Rule of Reason analysis, the plaintiff carries the burden of showing that an agreement or contract
has an anticompetitive effect on a given market within a given geographic area.” Agnew v. NCAA, 683 F.3d
328, 335 (7th Cir. 2012). In contrast, the per se rule “is employed when a practice appears to be one that
would always or almost always tend to restrict competition and decrease output.” Id. at 336 (internal quotes
and citation omitted). “Horizontal price fixing and output limitation are classic examples of behavior that
is considered anticompetitive per se.” Id.
11
  DPPs’ rule of reason claim for information exchange also contains a requirement under the first element
to establish anticompetitive effects either directly or indirectly by showing that Defendants exercised
market power in a relevant market. Toys “R” Us v. Fed. Trade Comm’n, 221 F.3d 928, 937 (7th Cir. 2000).


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evidence that Defendants occupy a relevant antitrust market and collectively wielded power in that

market. In response to DPPs’ class certification motion, Defendants do no dispute that common

evidence can be used to establish the existence of the alleged antitrust conspiracy and these liability

questions predominate over any individual questions. Doc. 877 at 42. Caselaw supports this point.

Kleen, 831 F.3d at 927 (“Defendants do not contest that the existence of the conspiracy could be

(perhaps had to be) proven by evidence common to the class.”) (emphasis added); In re Dealer

Mgmt. Sys. Antitrust Litig., 2024 WL 3509668, at *11 (N.D. Ill. July 22, 2024) (“Given the

importance of the conspiracy element to an antitrust action, courts and commentators regularly

accept that common questions here will predominate over individual questions.”); Broilers, 2022

WL 1720468, at *7 (this “type of alleged conspiracy is the prototypical example of an issue where

common questions predominate” because it can be “resolved for all members of a class in a single

adjudication.”) (internal quotes and citations omitted).

       As to CIIPPs’ motion, Defendants nonetheless “do not concede” that Plaintiffs have set

forth class-wide evidence of a conspiracy. Doc. 888 at 31 n.104. Defendants insist CIIPPs lack

evidence of a conspiracy, largely attacking various aspects of the evidence CIIPPs rely on and

pointing to various non-conspiratorial factors that impacted turkey production. Id. at 16-27. In

doing so, Defendants improperly merge the analysis of whether they engaged in a conspiracy with

the need for individualized inquiries. See Moehrl, 2023 WL 2683199, at *13 (“Defendants’

arguments bear more on whether a conspiracy existed; they are merits arguments that might entitle

them to summary judgment or a verdict in their favor but are inapplicable at the class certification

stage.”) (internal quotes and citation omitted). Defendants also fail to raise any issues specific to

individual class members that preclude a finding of predominance. At issue in this litigation is

whether Defendants conspired to reduce the supply of turkey products in order to increase the



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prices they charged for those products and unlawfully inflate their profits. As in Kleen, plaintiffs

“tendered extensive evidence that, if believed, would be enough to prove the existence of the

alleged conspiracy.” Kleen, 831 F.3d at 927. In support, CIIPPs’ evidence includes Defendants’

allegedly exchanging competitively sensitive information through Agri Stats reports, direct

communications among Defendants regarding turkey prices and supplies, and evidence of the

mechanisms Defendants used to allegedly monitor conspiracy compliance.                  Based on this

evidence, Defendants either engaged in a conspiracy or they did not. There is no conspiracy

alleged that existed as to only some class members. In other words, the evidence CIIPPs presented

regarding Defendants’ conduct is common across the class, and the existence of the alleged

conspiracy will be a predominate issue in the case. Kleen Prods. LLC v. Int’l Paper, 306 F.R.D.

585, 594 (N.D. Ill. 2015), aff’d, 831 F.3d 919 (7th Cir. 2016) (at the class certification stage, the

relevant issue is whether “the evidence either proving or disproving a conspiracy will be common

to the entire class”).

                2. Antitrust Impact

        The second element of Plaintiffs’ Sherman Act claims is antitrust impact or “fact of

damage.” Messner, 669 F.3d at 816. The predominance inquiry with respect to antitrust impact

asks whether the plaintiffs can “show that it [is] possible to use common evidence to prove that

[Defendants’ alleged antitrust violation] injured the members of the proposed class.” Id. Again,

plaintiffs’ “burden at the class certification stage [is] not to prove the element of antitrust impact.”

Moehrl, 2023 WL 2683199, at *14 (quoting Messner, 669 F.3d at 818). Instead, plaintiffs need

“only . . . demonstrate that the element of antitrust impact is capable of proof at trial through

evidence that is common to the class rather than individual to its members.” Messner, 669 F.3d at

818 (internal quotes and citations omitted) (emphasis in original). As common evidence of class-



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wide impact, Plaintiffs rely on the expert opinions of Williams and Mangum. In response,

Defendants contend DPPs cannot establish common proof of antitrust impact (and damages)

without Williams’ price overcharge regression model and his analysis is fundamentally flawed.

Defendants similarly argue that Mangum’s overcharge and pass-through regression models are

flawed, which is allegedly fatal to CIIPPs’ showing of class-wide impact (and damages) using

common proof.

        Defendants also move to exclude certain opinions of both experts. Federal Rule of

Evidence 702 governs the admissibility of expert testimony in federal court. Anderson v. Raymond

Corp., 61 F.4th 505, 508 (7th Cir. 2023). In Daubert, 509 U.S. 579 (1993), the Supreme Court

interpreted Rule 702 to require “the district court to act as an evidentiary gatekeeper, ensuring that

an expert's testimony rests on a reliable foundation and is relevant to the task at hand.”

Gopalratnam v. Hewlett-Packard Co., 877 F.3d 771, 778 (7th Cir. 2017) (internal quotes and

citation omitted). To determine whether expert testimony is admissible, the district court performs

a three-step analysis, evaluating: “(1) the proffered expert's qualifications; (2) the reliability of the

expert's methodology; and (3) the relevance of the expert's testimony.” Id. at 779 (emphasis in

original). “[R]eliability is primarily a question of the validity of the methodology employed by an

expert, not the quality of the data used in applying the methodology or the conclusions produced.”

Manpower, Inc. v. Ins. Co. of Pa., 732 F.3d 796, 806 (7th Cir. 2013). The Court’s role is not to

determine whether an expert’s testimony is correct, but only whether it falls “outside the range

where experts might reasonably differ.” Kumho Tire Co., Ltd. v. Carmichael, 526 U.S. 137, 153

(1999). If an expert's principles and methodologies are reliable, then the way to attack “shaky but

admissible” evidence is through use of cross-examination, presentation of contrary evidence, and

careful instruction on the burden of proof. Schultz v. Akzo Nobel Paints, LLC, 721 F.3d 426, 431



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(7th Cir. 2013).     The proponent of expert testimony must establish its admissibility by a

preponderance of the evidence. See Fed. R. Evid. 702; Varlen Corp. v. Liberty Mut. Ins. Co., 924

F.3d 456, 459 (7th Cir. 2019). When the “expert’s report or testimony is critical to class

certification,” the district court “must make the necessary factual and legal inquiries and decide all

relevant contested issues prior to certification.” Am. Honda Motor Co. v. Allen, 600 F.3d 813, 815,

817 (7th Cir. 2010). An expert’s testimony is critical if it is “important to an issue decisive for the

motion for class certification.” Messner, 669 F.3d at 812.

        In this case, Williams’ and Mangum’s opinions are critical to the issue of whether common

questions predominate concerning antitrust impact and damages, so the Court must decide the

Daubert motions first. On that matter, Defendants do not challenge Williams’ or Mangum’s

credentials or qualifications. 12 Instead, Defendants challenge the reliability and relevance of

analyses Williams and Mangum used to show common impact and damages. Thus, the Court’s

analysis focuses on the final two steps of the Daubert analysis that are relevant to the predominance

requirement.

                                      Williams’ Impact Analysis

        The Court now proceeds to a discussion of Williams’ expert opinions and Defendants’

bases for seeking to exclude them under Daubert and Rule 702. DPPs use Williams’ report to

demonstrate evidence of common impact. Williams first made findings regarding the structure of




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   Williams earned his M.A. and Ph.D. degrees in economics from the University of Chicago and is a
Managing Director at Berkeley Research Group, LLC, where he specializes in analyses involving antitrust,
industrial organization, and regulation. He is a former economist with the United States Department of
Justice, Antitrust Division. Mangum has master’s and doctoral degrees in economics from the University
of Southern California and is Executive Vice President at Cirque Analytics, an economic consulting firm.
He has been an economist for over 25 years and previously served as a staff economist at the United States
Federal Trade Commission, in the Antitrust Division of the Bureau of Economics. Williams and Mangum
are well-qualified to analyze the effects of the alleged conspiracy. See Broilers, 2022 WL 1720468, at *7;
Pork, 665 F. Supp.3d at 989.

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the turkey market, which Williams found was conducive to successful collusion. Doc. 830-2,

Williams Report ¶¶ 347-370. This evidence includes the highly concentrated market for turkey

(id. ¶ 20); the barriers to entry including high capital expenditure requirements and high levels of

vertical integration (id. ¶¶ 361-365); the lack of competition from imports (id. ¶¶ 366-367); the

lack of substitutes and low elasticity of demand (id. ¶¶ 358-360); and the fact that turkey is a

commodity product (id. ¶¶ 348-355). Williams found that the market structure for turkey products

supports a conclusion that all or nearly all consumers would have paid artificially inflated prices

as a result of the alleged conspiracy. Id. ¶ 368. According to Williams, basic economic theory

“demonstrates that, all else equal, a decrease in the market supply for a product will lead to an

increase in its prices.” Id. ¶¶ 375-376. He noted that Defendants and other market participants

confirmed the operation of this basic economic theory in the turkey industry. Id. ¶¶ 377-379.

       Williams also performed regression models and conducted correlation analyses.

“Regression analysis permits the comparison between an outcome (called the dependent variable)

and one or more factors (called independent variables) that may be related to that outcome.”

Manpower, Inc., 732 F.3d at 808; Broilers, 2022 WL 1720468, at *10 (“Regression analysis is a

statistical method by which data is organized as dependent and independent variables—e.g., price

changes over time—and is boiled down to a straight line such that predictions can be made about

scenarios outside the data—e.g., what prices will be in the future.”).

       Williams first performed an overcharge regression analysis.          Using nearly 600,000

transactions in the turkey industry representing $26.9 billion in commerce, Williams performed an

overcharge regression to determine the impact of Defendants’ alleged conduct by comparing the

prices paid by direct purchasers during the conspiracy period to a benchmark period. Doc. 830-2,

Williams Report ¶¶ 12, 385-402, 446. In his model, Williams controlled “supply-side factors such



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as dressed meat cost, avian influenza in 2015; demand-side factors such as population, disposable

income per capita, 2011 food-borne pathogens, prices of substitute products; and factors that may

affect both demand and supply such as inflation and the Great Recession.” Id. ¶¶ 12, 403-414, 446.

After “accounting for demand and cost factors that may affect turkey product prices,” including

the cost of grain, Williams found that “Defendants’ alleged conspiracy increased turkey product

prices by 11.3%.” Id. ¶¶ 12, 415-417. That estimate was statistically significant at the 0.1% level,

meaning “there is a less than 0.1% chance that Defendants’ conspiracy had no price effects.” Id.

¶¶ 417, 421. Moreover, Williams estimated his overcharge regression model separately by product

category, finding statistically significant overcharges as to each of turkey breast, ground turkey,

and whole turkey in the amounts of 14.8%, 5.2%, and 13.9%, respectively. Id. ¶¶ 423-424.

       Williams then performed an in-sample prediction comparing the price that each direct

purchaser actually paid on a particular transaction to the but-for price they would have paid absent

the conspiracy. Doc. 830-2, Williams Report ¶¶ 425-427; Doc. 830-4, Williams Sur-Reply, ¶ 141

n.192. Using the model underlying his common impact regression analysis, he compared predicted

“transaction-specific but-for prices” to “actual prices for each observation of each consumer in the

data for the damages period.” Doc. 830-2, Williams Report ¶ 425; Doc. 830-4, Williams Sur-Reply

¶¶ 138, 141 n.192 (emphasis in original). Williams found that 1,672 of 1,675 of the unique

customers in the dataset—or approximately 99.8%—had at least one overcharge observation

during the Class Period. Doc. 830-2, Williams Report ¶¶ 426-427. Thus, Williams opined that the

“anticompetitive effects of the alleged conspiracy were widespread across members of the

proposed [DPP] Class, causing harm to all or virtually all Class Members.” Id. ¶¶ 12, 446.

       Williams also conducted price correlation analyses, which show that turkey product prices

are parallel and highly correlated across products, Processor Defendants, geographic locations, and



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customers. Doc. 830-2, Williams Report ¶¶ 428-441. Although correlation analysis alone does not

prove common impact across class members, combined with Williams’ overcharge regression

analysis, high price correlations provide further evidence supporting that the alleged conspiracy

caused all or virtually all class members to pay artificially inflated turkey prices. Id. ¶ 428.

       As additional evidence, Williams performed a production regression. Williams’ production

regression found that “turkey production in the actual world is statistically significantly lower than

production but-for the alleged conspiracy by 4.6% to 5.5% in the Class Period.” Doc. 830-3,

Williams Reply ¶ 123. As in his overcharge regression analysis, Williams controlled for demand

and costs factors that may affect turkey production by applying the standard dummy variable

regression methodology. Id. ¶ 122. Williams also found that turkey production in the actual world

is statistically significantly lower than production but-for the alleged conspiracy for each year in

the damages period when letting the production effect vary by year, regardless of whether he used

total supply or domestic supply as the dependent variable and regardless of whether he included

or excluded turkey-product category-specific variables. Id. ¶ 311 (Table A2). As a further

robustness analysis, Williams then included the year 2009 as part of the damages period “to

account for potential supply-restraint effects in 2009.” Doc. 830-4, Williams Sur-Reply ¶ 43; Doc.

830-3, Williams Reply ¶ 310. In doing so, he found that “turkey production in the actual world is

statistically significantly lower than production but-for the alleged conspiracy by 4.7% to 5.2%”

in that redefined damages period including the year 2009. Id.

                      Defendants’ Objections to Williams’ Impact Opinions

       In-Sample Prediction Method: Defendants advance a series of arguments for excluding

Williams’ impact opinions based on the results of his regression and correlation analyses.

Defendants first argue that Williams’ overcharge regression cannot be used to show transaction-



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level impact because a regression shows average impact, not individual impact. According to

Defendants, Williams’ overcharge regression’s average overcharge is not a permissible method of

showing individual impact because turkey prices are individually negotiated as opposed to a rigid

price structure or manipulation of list prices or indices existing in the sale of turkey.

       The Court disagrees that Williams’ transaction-level impact opinion and any common

impact opinions based on it should be excluded. Here, because overcharges varied across class

members, Williams examined the overcharges at the transaction level. This was done by Williams’

in-sample prediction approach that “allows overcharges to vary by individual, but it does not

indicate that overcharges must vary across individuals.” Doc. 830-3, Williams Reply ¶ 315

(Appendix IV). Williams found that 99.8% of customers had at least one overcharge observation.

Doc. 830-2, Williams Report ¶ 426. Williams’ in-sample prediction approach is the “type of

market-wide economic analysis [that] has been accepted by many courts to show predominance as

to antitrust impact.” In re Pork, 665 F. Supp.3d at 1003 (application of expert’s model to class

members demonstrated that “over 99% of DPPs paid elevated prices at least once during the Class

Period.”); Olean Wholesale Grocery Coop., Inc. v. Bumble Bee Foods LLC, 31 F.4th 651, 672 (9th

Cir. 2022) (en banc) (“Tuna”) (explaining that plaintiffs’ expert’s comparison of but-for prices to

the actual prices paid by the DPP class “showed that 94.5 percent of the purchasers had at least

one purchase above the predicted but-for price,” which “provided further evidence that the

conspiracy had a common impact on all or nearly all the members of the DPP class.”); Broilers,

2022 WL 1720468, at *13 (explaining the direct purchaser plaintiffs’ expert “compared actual

prices from the class period to the calculated but-for market price and found that 97.1% of

customers paid an actual price that exceeded the but-for price at least once.”).




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        Contrary to Defendants’ argument, Williams’ finding that 99.8% of customers had a least

one overcharge observation can serve as common evidence for all class members despite the

diverse, individually-negotiated mechanisms to set turkey prices. Indeed, the Seventh Circuit has

explained that “[e]ven for transactions where prices were negotiated individually or a longer term

contact existed” class-wide impact follows where “the starting point for those negotiations would

be higher if the market price for the product was artificially inflated.” Kleen, 831 F.3d at 928-29.

This same argument by Defendants was rejected in Broilers and in Pork where the “evidence

show[ed] that those [individual] negotiations took place in the context of a ‘market price.’”

Broilers, 2022 WL 1720468, at *15; Pork, 665 F. Supp. 3d at 1006 (relying on evidence that

“market prices generally set the individual Defendants’ prices” in finding predominance of

common questions as to impact). Similarly here, significant evidence demonstrates that the

Processor Defendants negotiated turkey sales in the context of a well understood market price. See

Doc. 830 at 34-35; Doc. 938 at 20-25. 13 The record further indicates that the Processor Defendants

engaged in “across the board” pricing in response to market conditions, which is consistent with

the injury to 99.8% of class members that Williams found. See Doc. 830 at 35-36.

        The Court does not accept Defendants’ additional arguments, crediting Williams’

explanation that Stiroh’s one-step approach does not undermine his estimation of individualized

overcharges and demonstration of common impact using a two-step approach. Doc. 830-3,

Williams Reply ¶¶ 313-326 (Appendix IV); Doc. 830-4, Williams Sur-Reply, ¶¶ 136-137. The

Court also credits Williams’ explanation that Defendants mistakenly use error term and residual



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  As just two of many examples of the Processor Defendants using the market price as a starting point for
negotiations, DPPs cite Hormel’s Chuck Meath’s testimony that “the market price reflected in the Urner
Barry [a market index reporting service] [was] a reference point for the entire industry.” Doc. 938 at 21.
And Hormel’s 30(b)(6) designee testified that even “fixed price” agreements were “based on where you
think Urner Barry/USDA information is going to be.” Id. at 22.

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interchangeably and therefore, their arguments in this regard do not undermine the reliability of

his in-sample prediction method. Doc. 1074, Oct. 9, 2024 Hearing Tr., at 51:6-52:10; Doc. 830-3,

Williams Reply ¶¶ 190, 313-332 (Appendix IV). Defendants further challenge the validity of

Williams’ method because they claim it would show injury on half the transactions in the

benchmark period even when there was no conspiracy. But notably, Stiroh (as opposed to counsel)

does not indicate that this indicates 50 percent false positives. The Court credits Williams’

explanation that the residual is interpreted differently in the damages period than the benchmark

period because there is no impact in the benchmark period. Doc. 1074, Oct. 9, 2024 Hearing Tr.,

at 130:10-134:17. Moreover, Williams shows that 99.8% of DPPs were overcharged at least once

during the Class Period. On balance, DPPs have demonstrated that Williams’ transaction-level

impact opinion is sufficiently reliable evidence of proof common to the class.

       Correlation Analyses: Moving on to Williams’ correlation analyses, Defendants argue:

(1) his correlation analysis “has nothing to do with the alleged conspiracy”; (2) his correlation

opinion is not falsifiable; and (3) his “decile” correlation analysis does not show customer

uniformity. Doc. 895 at 12-16. None of these arguments provides a ground for excluding Williams’

correlation analyses as unreliable or irrelevant.

       As to the first argument, Defendants identify factors unconnected to the alleged conspiracy,

such as seasonality (customers paying more for whole birds during the holiday), grain prices, and

inflation, as likely explaining the correlations. According to Defendants, by failing to control for

either market forces or the alleged conduct, there is no way to determine what is driving the

correlation or whether the alleged conduct is one of the factors that impacts every customer or only

some of them. It is true that “correlation analysis alone does not prove common impact across

Class Members.” Doc. 830-2, Williams Report ¶ 428. However, courts faced with similar



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correlation analyses have found that they could serve as reliable evidence in conjunction with

overcharge regressions. See Tuna, 31 F.3d at 671 (plaintiff’s expert “performed a pricing

correlation test, which demonstrated that the prices of the Tuna Suppliers' products moved up or

down together regardless of product or customer type, and thus supported the proposition that the

Tuna Suppliers’ collusion had a common, supra-competitive impact on their prices.”); Pork, 665

F. Supp.3d at 992 n. 13 (While “correlation analysis may not be common evidence of class-wide

injury on its own,” an expert may “use his correlation analysis merely to supplement his robust

regression analysis.”); see also In re: Cathode Ray Tube (CRT) Antitrust Litig., 308 F.R.D. 606,

629 (N.D. Cal. 2015) (finding that expert's “use of regression and correlation analysis is well

established as a means of providing classwide proof of antitrust injury and damages”). The district

court in Pork concluded that “[c]orrelation analysis conducted by [the plaintiffs’ expert] further

bolsters that all DPPs would be impacted by the price increase,” as it is evidence that “all DPPs

were impacted because DPPs would not have been able to avoid the impact of the alleged

conspiracy by switching from one Defendant to another.” Pork, 665 F. Supp.3d at 1003 (internal

quotes omitted).   Similarly here, there is no reliability problem simply because Williams’

correlation analysis alone does not identify the causal mechanism driving the correlation.

Consequently, Williams’ correlation analyses provide further reliable evidence of class-wide

pricing impact.

       The Court also dismisses Defendants’ argument that a correlation analysis is irrelevant to

the claims in his case because Plaintiffs have not alleged a rigid pricing structure. In Pork, this

type of correlation analysis was accepted to show common impact where, like here, there was

evidence that defendants generally set their prices based on market price with adjustments. Pork,

665 F. Supp.3d at 1003.



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       Relying on Stiroh’s opinion, Defendants next argue that Williams’ correlation analysis is

insufficient to establish common impact because if but-for prices are generally increasing (as they

would over a 20-year time span), the correlation among customers will be positive. Doc. 833-3,

Stiroh Report ¶ 142. And so, Defendants argue, Williams’ correlation statistic is not falsifiable

because it would be positive regardless of the presence or absence of class-wide impact. This

criticism does not render Williams’ correlation analysis irrelevant to common impact. Stiroh’s

hypothetical in her report assumes that the prices of all products can only increase over time. Doc.

820-3, Williams Reply ¶ 278. As Williams explains, however, “[a]ctual turkey prices fluctuate and

the data generally have more than two periods. As a result, price correlations are neither positive

100 percent nor negative 100 percent.” Id. Moreover, the relevant point of Williams’ analysis is

“that, all else equal, correlations would be systematically lower if only some customers/products

were overcharged, and systematically higher if overcharges are more widespread.” Id. The actual

results of Williams’ analysis shows consistently high, positive levels of pricing correlation—

generally between 80 to 99 percent for whole turkeys, ground turkey, and turkey breast. Doc. 820-

2, Williams Report ¶ 433.

       Defendants also take issue with Williams’ decile correlation analysis, arguing it is not a

reliable test of customer pricing uniformity because he does not analyze the correlation between

individual customers, and positive correlation at the decile level is built into Williams’ analysis.

Doc. 830-2, Willaims Report ¶¶ 432-435. However, Williams’ decile correlation analysis was not

designed to analyze price correlations of specific customers—that is done by his customer

correlation analysis.   Williams performed a separate customer correlation analysis which

demonstrates that prices are correlated across customers. Id. ¶¶ 440-441. Specifically, Williams’

customer correlation analysis showed prices across customers are “generally highly correlated,



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with 100% of the correlations higher than 0.6 and 82%-100% correlations higher than 0.8.” Id. ¶

441.

        Moreover, in his decile analysis, Williams found that different deciles of transaction prices,

product prices, and customer prices are parallel with each other and highly correlated. Doc. 830-

2, Willaims Report ¶¶ 432-435. Correlations of prices at different levels can provide insights into

whether both expensive and cheap products would be affected by the alleged conspiracy and

whether both customers who paid lower and higher prices would be affected by the alleged

conspiracy. Id. ¶ 432. Williams used the results of his decile analysis “as further common evidence

supporting [his] findings based on the overcharge regression analysis that the anticompetitive price

increases caused by the alleged conspiracy had a widespread effect on Class Members, causing all

or virtually all of them to pay higher prices.” Id. ¶ 435. While it is correct that the decile lines can

never cross to show a negative correlation because they are measuring different deciles, the Court

is not persuaded that this renders Williams’ model unreliable for measuring the degree of the

positive price correlation coefficients and thus, common impact. Doc. 1074, Oct. 9, 2024 Hearing

Tr. 16:14-20:9, 162:11-163:8. The decile correlation analyzes the correlation of each decile with

the mean. And Williams found the price correlations of each decile with the mean were very high.

Doc. 830-2, Willaims Report ¶ 433 (turkey breast correlations range from 0.80 to 0.99; ground

turkey correlations range from 0.86 to 0.99; and whole turkey correlations range from 0.96 to

0.99). Accordingly, the Court finds that Defendants have failed to show that Williams’ decile

analysis is unreliable on these bases.

        Production Regression:14 Defendants’ next challenge relates to Williams’ production

regression analysis. Defendants insist that Williams’ production regression model does not reliably


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  Williams’ Reply report refers to these models as production regressions. Doc. 830-3, Williams Reply,
Section IV.D. At the evidentiary hearing, Williams testified that he should have called these models supply

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show a production reduction attributed to the alleged conspiracy for three reasons: (1) his

production model does not fit the facts of the case; (2) his production model ignores post-

conspiracy data; and (3) his production model yields absurd results. None of Defendants’

arguments demonstrate that Williams’ testimony is unreliable. First, Defendants dispute whether

the proposed production model matches the DPPs’ theory of liability. In Defendants’ view,

Williams’ production model does not fit the case because DPPs’ claims are predicated on two

production cutbacks by the Processor Defendants in 2008-2009 and 2012-2013 and he did not

separately model the effects of production cutbacks in 2008-2009 and 2012-2013. But while DPPs

allege that the Processor Defendants each participated in production cuts in 2008-2009 and/or

2012-2013, production cuts are not the only way to restrain turkey output below what it would

have been. As Stiroh recognized, besides production cuts, “another separate way that a cartel could

restrain production would be by keeping production levels flat rather than growing them as they

would have occurred in the but-for world.” Doc. 938-5, Stiroh Dep. 202:10-203:3. Similarly,

Stiroh agreed that a “decision by a cartel to expand, but to expand less than they would in the but-

for world, would also be a production restraint.” Id. at 203:14-18. DPPs have presented evidence

common to the class that the Processor Defendants also engaged in production restraint throughout

the Class Period and production cuts take time to affect the supply of turkey meat. See Doc. 938

at 12-17; Doc. 940 at 21-22; see also Doc. 665, DPPs’ Third Amended Class Action Cmplt. ¶¶ 17,

19, 310, 324, 388. Because Williams’ production regression analysis relates to the factual situation

at hand, there is a “fit” between his conclusion and the facts of the case.

        Defendants further question the reliability of Williams’ production model, arguing that it

does not show effects from the conspiracy in 2008-2009 and thus, it cannot support his conclusion


regressions. Doc. 1074, Oct. 9, 2024 Hearing Tr. 166:11-21. For ease of reference, the Court will refer to
these models as production regressions as in Williams’ Reply.

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that there was a pricing effect from the alleged conduct in 2010. Williams responds to this criticism

in two ways. First, he notes that the suggestion that his production regression model must find

supply restraint outside the Class Period contradicts DPPs’ allegations, the facts indicating it takes

time for cuts to make their way through the production system and be reflected in turkey pricing

as well as for existing inventory to be depleted, and his analysis of Processor Defendants’

production data. Doc. 830-4, Williams Sur-Reply ¶¶ 46-51, 54-59. Second, Williams notes that

his production regression model was designed to estimate the supply-restraint effect in the Class

Period, not but-for production during the ramp-up period. Id. ¶ 59. Williams also gave a persuasive

reason for why the coefficient on the ramp-up variable does not capture the total supply restraint,

if any, in the ramp-up period. As Williams points out, in this case, the ramp-up period of July 2008

through December 2009 largely overlaps with the Great Recession period of January 2008 through

June 2009. Id. As a result, Williams states to determine the total supply-restraint effect in the ramp-

up period, it is inappropriate to base it on the statistical significance of the estimated coefficient

on the ramp-up variable in Williams’ model, as Stiroh does. Id. All of this indicates to the Court

that Williams’ production regression matches the theory of liability in this case.

       Defendants next challenge Williams’ robustness check which included the year 2009 as

part of the damages period because it did not include a separate variable for 2009 to measure the

effects of the conspiracy in that year. Rather, Williams redefined his damages period from seven

to eight years. Defendants argue this only averaged the effects during the entire period and did not

isolate the effects of the ramp-up period. In Defendants’ view, Williams’ robustness check

undermines DPPs’ argument that there was an impact in 2009. But Williams’ inclusion of a

robustness analysis does not itself warrant exclusion of the primary regression, particularly where

the results still demonstrate “turkey production in the actual world is statistically significantly



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lower than production but-for the alleged conspiracy by 4.7% to 5.2%.” Doc. 830-4, Williams

Sur-Reply, ¶ 43; Doc. 830-3, Williams Reply, ¶ 310. Defendants’ critique is that Williams’ own

results show that by adding 2009 to his damages period, the estimated production reduction

decreased from 5.1% to 4.7%, which is consistent with the alleged conspiracy having no adverse

impact on production during 2009. However, Defendants focus only on the differences between

results when Williams used total supply as the dependent variable and excluded three turkey-

product-category-specific variables, not the other results produced by Williams. Doc. 830-3,

Williams Reply, ¶¶ 122-23 (Table 2), 310 (Table A1); Doc. 830-4, Williams Sur-Reply, ¶ 43 (Table

2). In contrast, Williams tested the robustness of his production regression model by running four

different versions: by comparing the results including and excluding turkey-product-category-

specific variables and by defining total production as either total supply or domestic supply. Id.

Again, a broader view of Williams’ results shows that when including the year 2009 as part of the

damages model, the estimated production reduction in the actual world is statistically significantly

lower than production but-for the alleged conspiracy by 4.7% to 5.2%. Doc. 830-3, Williams

Reply, ¶ 310 (Table A1); Doc. 830-4, Williams Sur-Reply, ¶ 43 (Table 2). Williams’ model is not

therefore flawed. That Williams did not include a separate variable for 2009 or limit his analysis

to “total supply” excluding the three turkey-product-category-specific variables may undercut the

weight of his opinion, but it does not make his opinion unreliable. Regardless of whether it is the

best method, Williams’ results are sufficiently reliable. Defendants’ criticism is really a dispute as

to Williams’ ultimate conclusion that there was an impact in 2009, and this critique does not make

Williams’ opinion non-admissible under Daubert. See Smith v. Ford Motor Co., 215 F.3d 713, 718

(7th Cir. 2000) (“The soundness of the factual underpinnings of the expert's analysis and the

correctness of the expert's conclusions based on that analysis are factual matters to be determined



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by the trier of fact, or, where appropriate, on summary judgment.”). The Court therefore declines

to exclude Williams’ original production analysis and robustness analysis on this ground.

       Beyond this, Defendants raise a concern that Williams’ production model is unreliable

because it ignores post-conspiracy data from 2019-2021, which shows that production declined

after the 2018 cut-off period. According to Defendants, Williams chose the 2018 cut off for his

“after” period because Class Period production was below 2018 levels, but above 2021 levels.

Though DPPs argue that Williams did not have Defendants’ data through 2020 because Defendants

objected to its production, this argument is not persuasive. Williams testified that his production

regression is based on quarterly USDA data, not Defendants’ data. Doc. 1074, Oct. 9, 2024 Hearing

Tr. 167:20-168:7, 174:7-175:9. Moreover, Mangum also used quarterly USDA data in his turkey

production analysis in this case. See Doc. 839-1, Mangum Report ¶ 71, Figure 13. But in any case,

this disagreement over the post-conspiracy time period goes to the evidentiary weight and

persuasiveness of Williams’ testimony, rather than its reliability. In re Allstate Corp. Sec. Litig.,

2022 WL 842737, at *9 (N.D. Ill. Jan. 10, 2022), report and recommendation adopted, 2022 WL

17683310 (N.D. Ill. Feb. 22, 2022) (“disagreements over which time period to use . . . reflect a

classic dispute among experts over the choice of inputs, which is inappropriate to resolve at this

Daubert juncture.”); see also Moehrl, 2023 WL 2683199, at *9 (rejecting Daubert challenge

because “arguments concern[ing] the factual underpinnings of [expert]’s analysis and the quality

of his conclusions . . . implicate the probative weight of his opinions not their admissibility”).

Moreover, Defendants have not shown how the additional data from 2019 through 2021 would

have had an impact on Williams’ results. See Morgan v. United Parcel Serv. of America, Inc., 380

F.3d 459, 468-69 (8th Cir. 2004) (“when a defendant attacks a plaintiff’s regression, he must




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typically do more than point out the flaws in his opponent’s analysis” and instead “must show that

the omission had an impact on the result.”).

       As a final argument in support of exclusion, Defendants assert Williams’ production model

produces absurd results because it purportedly shows that “if costs increase, then production also

increases.” Doc. 895 at 19. Defendants argue that the “implication that producers should make

even more when costs skyrocket is not rational or reliable.” Id. But Defendants do not point to

any criticism raised by Stiroh in her rebuttal report supporting their argument. Furthermore,

Williams disagrees with the conclusion that the positive sign on the dress meat cost variable is an

indication of an econometric issue with the production regression. Williams testified this is a

mistaken view of reduced form regressions and what the coefficients on the control variables mean.

Grounded in economic theory, Williams explained at both his deposition and the hearing that it is

very common for there to be unexpected signs in reduced form regressions, but it does not change

the unbiased estimate of the variable of interest. Doc. 1074, Oct. 9, 2024 Hearing Tr. 179:15-182:2;

Doc. 938-42, Ex. 177, Williams Dep. 224:20-225:22, 233:4-236:22.             Defendants make no

persuasive attempt to rebut Williams’ explanation. While Defendants’ counsel argues that the

production regression is unreliable in predicting the effects of the alleged conspiracy because it

does not reliably predict the effects of costs on production, they have provided no actual evidence

(as opposed to argument) from which the Court can conclude that Williams’ production analysis

leads to an absurd result. All in all, Defendants have not shown that the supposed absurdity of

Williams’ cost variable undermines the reliability of the methodology for measuring class-wide

impact. Like much of their objections’ to Williams’ opinions, Defendants are actually contesting

the relative weight of Williams’ production model, which they are free to challenge at trial.




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                                 DPPs’ Common Proof of Impact

       Returning to the merits of the class certification motion, DPPs have pointed to several types

of common proof that will establish antitrust impact on a class-wide basis. First, Williams showed

that the structure of the turkey industry was conductive to successful collusion, which provides

common proof that will establish antitrust impact on a class-wide basis. As the Seventh Circuit

has recognized, plaintiffs may rely on evidence that the “structure of the [relevant] market was

conducive to successful collusion” as “common proof that will establish antitrust injury (in the

form of cartel pricing here) on a classwide basis.” Kleen, 831 F.3d at 927; see also Tuna, 31 F.4th

at 675 (“other evidence in the record, including [] market characteristics, showed that class

members suffered common impact.”). Moreover, common evidence demonstrates that Urner

Barry served as a market reference point when pricing turkey. See Broilers, 2022 WL 1720468, at

*15; Pork, 665 F.Supp.3d at 1006. Given these characteristics of the turkey market, Williams also

relied on textbook economic principles and record testimony about the well-established

relationship between the supply and price of turkey meat. Doc. 830-2, Williams Report ¶¶ 375-

379 375. This evidence in conjunction with fundamental economic theory is all common evidence

that collusion would cause higher prices for all or nearly all turkey products.

       DPPs provided additional common evidence in the form of multiple economic analyses

capable of proving that the alleged conspiracy among Defendants caused the price of turkey

products to increase: (1) Williams’ overcharge regression establishing that Defendants’ alleged

conduct resulted in statistically significant overcharges for each of turkey breast, ground turkey,

and whole turkey throughout the Class Period; (2) Williams’ customer-level in-sample prediction

methodology demonstrating that 99.8% of class members had at least one overcharge observation

during the Class Period; and (3) Williams’ correlation analyses showing that prices move together



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within the turkey product categories, among Processor Defendants, and across different customers

and geographic locations. DPPs also presented common evidence that Agri Stats/EMI provided a

mechanism by which Processor Defendants exchanged production and pricing information.

Finally, Williams performed a production regression and based on common evidence, he found

that Defendants restrained industry supply throughout the Class Period. As the Seventh Circuit

has explained, this does not mean “that any of these points have been proven, of course, but [the

Court] is saying that this evidence is enough to support class treatment.” Kleen, 831 F.3d at 928.

                                 Defendants’ Impact Arguments

       This leads to Defendants’ challenges to the sufficiency of DPPs’ common proof of antitrust

impact. Defendants argue that Williams’ overcharge regression analysis is insufficient as common

proof because: (1) his model measures average price effects and a single average percentage

overcharge is improper when an industry has non-uniform prices; (2) his model does not fit DPPs’

allegations; and (3) his model demonstrates that a great many putative class members are

uninjured. The Court will address each of Defendants’ arguments in turn, but finds them to be

unavailing.

       To begin, Defendants’ first argument largely mirrors their earlier Daubert challenge to

Williams’ in-sample prediction approach, which the Court rejected.         For purposes of class

certification, individual pricing negotiations and different pricing mechanisms in the turkey

industry do not preclude the use of pooled regression models to show common impact. In Kleen,

the Seventh Circuit considered “whether the common evidence could show the fact of injury on a

classwide basis” and stated that, “[a]t base, Defendants argue that it is not enough for Purchasers

to prove aggregate injury and one aggregate overcharge.” Kleen, 831 F.3d at 927. Kleen rejected




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this argument and affirmed class certification with the plaintiff’s expert “calculat[ing] an average

overcharge of 2.92%.” Id. at 929. 15

        Additionally, the use of aggregate results of regression analyses using pooled data has been

accepted as evidence capable of showing common impact in other protein industry antitrust cases

where defendants priced their products in reference to market prices. The Broilers court stated

that “[c]ourts have held that pooled regression analysis can be an appropriate tool to demonstrate

class-wide impact even when the market involved diversity in products, marketing, and prices.”

Broilers, 2022 WL 1720468, at *12 (internal quotes and citation omitted). The district court

rejected the argument that plaintiffs’ proof of injury was improperly based on an expert’s

calculation of a “but for” “average” price which failed to account for individual price negotiations.

Id. at *15. As the Broilers court correctly explained, the “experts’ opinions in this case [] are not

merely based on ‘averages’ of individually negotiated sales.” Id.               Rather, individual price

negotiations “take place in the context of a ‘market price,’” which is the “starting point” for

negotiations. Id; see also Pork, 665 F. Supp.3d at 1006. This is consistent with “prevailing view”

that “price-fixing affects all market participants, creating an inference of class-wide impact even

when prices are individually negotiated.” Kleen, 306 F.R.D. at 600 (internal quotes and citation

omitted). As discussed above in connection with Defendants’ objections to Williams’ in-sample

prediction model, common evidence here demonstrates that the Processor Defendants negotiated




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   See also Tuna, 31 F.4th at 677-78 (rejecting the categorical argument that “pooled regression models
involve improper ‘averaging assumptions’” and therefore are inherently unreliable when used to analyze
complex markets” because “[i]n antitrust cases, regression models have been widely accepted as a generally
reliable econometric technique to control for the effects of the differences among class members and isolate
the impact of the alleged antitrust violations on the prices paid by class members.”).

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turkey sales in reference to market price, such that cuts in production could uniformly affect all

relevant products. 16

        Defendants also point out that turkey prices were established through a variety of pricing

mechanisms, including fixed-price contracts, cost-plus contracts, and contracts based on grain

costs, which they argue insulated some DPPs from any effects of the conspiracy and preclude use

of a single, average overcharge to measure antitrust injury. This argument is unpersuasive to

support lack of common impact and predominance. Like the chicken industry at issue in Broilers,

market price is a reasonable way to demonstrate common impact of an alleged conspiracy to reduce

turkey supply because “[e]ven prices that are not explicitly based on Urner Barry . . . will still be

influenced by the same market factors because the prices associated with fixed price contracts and

the margins associated with cost-plus contracts will be negotiated in reference to market price.”

See Broilers, 2022 WL 1720468, at *14. Moreover, while Defendants point to a few grain-based

contracts, these contracts do not change the fact that there is common evidence that Processor

Defendants generally used market price as a reference when pricing turkey.

        Additionally, Defendants note that unlike in Broilers and Pork, turkey products (such as

breast, wings, thighs, etc.) are not priced based on a single “cutout” value of the entire bird, so a


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  Relatedly, the Court considers Plaintiffs’ request to exclude Stiroh’s opinion that a single overcharge
regression cannot be a reliable measure of common impact in this kind of antitrust case. See Doc. 833 at
11-19. Plaintiffs assert that Stiroh’s opinion in this regard is unreliable because the use of common impact
regression methodology is a well-established econometric practice used to show antitrust injury, particularly
in price-fixing cases. It is true that single overcharges “have been widely accepted as a generally reliable
econometric technique to control for the effects of the differences among class members and isolate the
impact of the alleged antitrust violations on the prices paid by class members.” Pork, 665 F. Supp.3d at
1005-06 (quoting Tuna, 31 F.3d at 677 and citing Broilers, 2022 WL 1720468). However, as Defendants’
Opposition makes clear, Stiroh did not opine that an overcharge regression model can never be used; rather,
Stiroh simply opined that Plaintiffs’ overcharge regression models in this case are not reliable proof of
common impact as to these putative classes. Doc. 881 at 9-10. As such, Plaintiffs have failed to show that
Stiroh’s critiques of Williams’ and Mangum’s overcharge regression models as proof of antitrust impact are
so unreliable that any of them should be excluded on Daubert grounds. With Defendants’ clarification,
Plaintiffs’ motion on this issue is denied.


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reduction in turkey production could not affect the supply (and price) of all turkey products

uniformly. It is true that different types of turkey products have different pricing movement

patterns, which is to be expected because whole bird pricing is cyclical as a result of its popularity

during the Thanksgiving holiday. But as DPPs point out, there are different published market

prices for different turkey products. See Doc. 938 at 24. Moreover, plotting the Urner Barry data

for 2009-2019 shows that Urner Barry prices for a given product category are highly correlated.

Doc. 938 at 24-25. Williams also performed overcharge regression analyses of the price of turkey

by product category. Doc. 830-2, Williams Report ¶ 423. He found overcharges during the Class

Period for turkey breast, ground turkey, and whole turkey. Id. ¶ 424. And Williams’ correlation

analyses showed that Defendants’ prices for turkey breast, ground turkey, and whole turkey

products were highly correlated during the Class Period, i.e., they moved in a parallel manner

during the Class Period. Id., Section V.D.iii. To the extent that Processor Defendants’ failure to

make production and pricing decisions based on the whole bird value limits the ability of the

alleged conspiracy to affect prices of all turkey products uniformly, this is a question for the trier

of fact to be examined later and not a reason to deny class certification now.

       Second, Defendants assert that Williams’ overcharge regression model does not fit DPPs’

allegations. Defendants repeat many of the same arguments that failed in their Daubert motion.

See Doc. 877 at 51-52. Defendants also rehash their argument that Williams’ production regression

model is flawed because: (1) he finds no statistically significant effect of the alleged conspiracy

during the first period of alleged coordinated production cuts in 2008 and 2009; (2) he ignores

production data post-Class (2019-2021) when turkey production decreased; and (3) his model

provides absurd results by showing a positive correlation between production and production costs.

To begin with, DPPs are correct that Kleen specifically rejected the argument that antitrust



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plaintiffs must even perform a separate production regression “of a hypothetical market free of any

anticompetitive restraint, to which the actual market can be compared.” Kleen, 831 F.3d at 927.

Instead, “[w]hat is essential” for impact is common proof of “cartel pricing” on a class-wide basis,

as provided by overcharge regressions and market structure analysis. Id. That said, the Court

adopts its previous analysis here and finds the issues raised by Defendants are not fatal to class

certification. 17

        The one new issue raised by Defendants, which concerns cold turkey inventory, does not

cause the Court to question Williams’ method. Stiroh asserts that Williams should not have

included cold turkey inventory as part of supply in his production regression. Doc. 839-4, Stiroh


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   Defendants also rely on Stiroh’s opinion to argue that Williams’ overcharge estimate “is not tied to the
alleged supply restriction” because he estimates an unvarying overcharge over the entire Class Period with
no variation to account for the fact that the “alleged supply restrictions occurred during two specific periods
of time [2008-2009 and 2012-2013].” Doc. 839-2, Stiroh Report ¶ 75. Defendants further rely on Stiroh’s
finding that there is no price impact in the 2008-2009 or 2012-2013 subperiods. Doc. 839-4, Stiroh Rebuttal
Report ¶¶ 10-14. But, as previously discussed, this approach does not fit the evidence in the record
indicating that Processor Defendants engaged in production restraint throughout the Class Period and it can
take months-if not years-for production cuts to take effect. Doc. 938 at 13-15; Doc. 830-4, Williams Sur-
Reply ¶¶ 46-51. Moreover, Stiroh’s analysis does not necessarily undermine Williams’ results. When
Williams modified his overcharge regression model to allow the estimated overcharge to vary by year, he
found that “estimated overcharges are positive and statistically significant for every year in the damages
period.” Doc. 830-3, Williams Reply, ¶¶ 248-249 & T. 5. Similarly, with respect to the production model,
Williams also “allow[ed] the supply restraint effect to vary by each year in the damages period, which is
more flexible and captures differences in supply-restraint effects across years that Dr. Stiroh’s regressions,
by design, cannot capture.” Doc. 830-4, Williams Sur-Reply ¶ 36. Williams found that “turkey production
in the actual world is statistically significantly lower than production but-for the alleged conspiracy for each
year in the damages period when letting the production effect vary by year.” Id. ¶ 36 & T. 1. And as just
explained, Williams’ production model treated 2008-2009 as a ramp-up period because, among other things,
the evidence suggests that production restraints take time to affect supply. Doc. 830-4, Williams Sur-Reply
¶¶ 44-58. So the model was not designed to test for an anticompetitive effect in the years before Williams
had an economic expectation of such effects. Id. ¶ 59; Doc. 938-42, Ex. 177, Williams Depo. at 188:15-22.
Rather, his model was set up to test for effects within the Class Period. Again, as a further robustness
analysis, Williams included the year 2009 as part of the damages period “to account for potential supply-
restraint effects in 2009” and found that “turkey production in the actual world is statistically significantly
lower than production but-for the alleged conspiracy by 4.7% to 5.2%” in that redefined damages period.
Doc. 830-4, Williams Sur-Reply, ¶ 43, Doc. 830-3, Williams Reply, ¶ 310. Ultimately, Defendants’
argument, based on Stiroh’s opinions, is a factual dispute to be resolved at summary judgment or trial. It
is not a reason to exclude Williams’ overcharge estimate or a predominance-based reason to deny class
certification.


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Rebuttal Report ¶ 15. In rebuttal, Williams explains that inventory is part of overall supply, so

Processor Defendants must consider their inventory levels when making their production decisions

in order to restrain overall supply. Doc. 830-4, Williams Sur-Reply ¶¶ 61-64. According to

Williams, “supply including inventory is the correct dependent variable to use in analyzing the

supply-restraint effect of the alleged conspiracy.” Id. ¶ 61. Williams gave persuasive reasons for

why a model that uses supply including inventory is the correct dependent variable. Id. ¶¶ 61-64.18

In other words, Williams relies on a reliable methodology which, based on his explanations and

responses to Stiroh’s criticism, he has more likely than not reliably applied to the facts in this case.

His choice to include cold turkey inventory as part of supply in his production regression goes to

the weight of his testimony rather than its admissibility. Ploss v. Kraft Foods Group, Inc., 637 F.

Supp.3d 561, 576 (N.D. Ill. 2022) (“As the Supreme Court and Seventh Circuit have confirmed

on a number of occasions, the selection of the variables to include in a regression analysis is

normally a question that goes to the probative weight of the analysis rather than to its

admissibility.) (internal quotes and citations omitted).

        The third part of Defendants’ overcharge regression model challenge goes to uninjured

class members. Defendants maintain that Williams’ model cannot serve as common evidence of

antitrust impact because, even under his own analysis, a great many class members were not

injured. The Seventh Circuit has explained that “a class should not be certified if it is apparent

that it contains a great many persons who have suffered no injury at the hands of the defendant.”

Kohen v. Pac. Inv. Mgmt. Co. LLC, 571 F.3d 672, 677 (7th Cir. 2009); Messner, 669 F.3d at 825



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  Williams also notes that even if inventory were excluded from supply in the dependent variable, Stiroh’s
regressions excluding inventory from the dependent variable suffer from methodological errors that, when
corrected, confirm the robustness of his findings that turkey supply was restrained in the Class Period. Doc.
830-4, Williams Sur-Reply ¶¶ 61, 73, 75, 78.

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(“There is no precise measure for ‘a great many.’”). However, Plaintiffs need not offer common

evidence showing impact to every single class member at the class certification stage. Suchanek v.

Sturm Foods, Inc., 764 F.3d 750, 757 (7th Cir. 2014) (“If the court thought that no class can be

certified until proof exists that every member has been harmed, it was wrong.”). Here, Williams

found that 1,672 of 1,675 of the unique customers in the dataset, or approximately 99.8%, had a

least one overcharge observation during the Class Period. Stiroh believes the proper analysis is to

run Williams’ price overcharge regression on the purchases individually of the 532 DPPs with

sufficient number of transactions. Doc. 839-2, Stiroh Report ¶ 95. 19 When she runs Williams’

model as to each of these 532 customers individually, she finds that 186—or 35% of the sample

analyzed—have no statistically significant overcharges. Id. These 186 uninjured DPPs constitute

11% of the entire putative class, and Defendants believe that 11% figure defeats class certification.

        According to Williams, when applying regression models to only a subgroup of data, “the

number of observations per grouping declines as transactions are divided into more and more

subgroups, coefficients become less precise, which makes a test of coefficient stability or

robustness less reliable” and “estimated coefficients may make little economic sense.” Doc. 830-

3, Williams Reply ¶¶ 203-204. Though Stiroh believes that her methodology shows no statistically

significant positive overcharges for 186 customers, Williams explains none of these customers

account for more than 0.4% of observations in the data. Id. ¶ 201. Thus, Stiroh discards at least

99.6% of the observations in the data for each of these 186 customer-specific regressions. Id.

Williams further points out that even under Stiroh’s analysis, all of the top 50 customers and 97 of

the top 100 customers (by number of observations) have positive and significant overcharges. Id.

¶ 206. And the customers Stiroh does find to have statistically significant overcharges represent


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  Stiroh defines sufficient observations as more than 100 observations, including over 30 observations in
both the benchmark period and alleged Class Period. Doc. 839-2, Stiroh Report ¶ 95(a) n. 217.

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95% of all transactions. Id. DPPs argue that the fact that Stiroh’s customer-specific regressions

find fewer overcharges for smaller customers who are less likely to have the ability to resist

overcharges makes little economic sense. See also id. ¶¶ 209-217.

        At bottom, Williams’ argument that Stiroh’s application of his overcharge regression model

is a flawed methodology that creates artificially small sample sizes is a classic battle of the experts

about the proper approach to the regression analysis that must be left for the factfinder to resolve.

It is not a reason to reject Williams’ overcharge regression model at the class certification stage.

Gicla v. United States, 572 F.3d 407, 414 (7th Cir. 2009) (“[C]lassic battle of the experts . . . called

upon the factfinder to determine what weight and credibility to give the testimony of each

expert[.]”). As a result, Stiroh’s critique is inadequate as a basis to conclude that Williams’

approach is insufficient evidence to demonstrate class-wide impact. Broilers, 2022 WL 1720468,

at *16 (Based on their expert’s “unpooled” regression analysis, “Defendants merely disagreed with

Plaintiff’s perspective” and “such a dispute is factual and is resolved at summary judgment or trial.

It is not a reason to exclude either perspective or deny class certification.”). Moreover, Stiroh did

not offer her own affirmative model to show the number of unimpacted class members among the

DPPs. Doc. 938-5, Stiroh Dep. 10:11-14, 11:16-23; see also Tuna, 31 F.3d at 680 (noting

defendants’ expert “did not make a factual finding that 28 percent of the DPP class or 169 class

members were uninjured,” but aimed to “undermin[e] confidence in Dr. Mangum’s pooled

regression model,” which “[a]t most” supports the “more attenuated argument that Dr. Mangum’s

model is unreliable, or would be unpersuasive to a jury.”).

        Defendants advance a further argument that Williams’ overcharge regression model creates

false positive results of injury of 3.6% when Stiroh applied it to a “clean damages period.” Doc.




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839-2, Stiroh Report ¶ 133. 20 Defendants contend that these false positives show that Williams’

model likely includes numerous members who have not been injured by the alleged conspiracy

and thus, the model cannot serve as sound common proof of class-wide injury. Williams responds

that Stiroh’s analysis is incorrect. Williams explains that Stiroh’s false positive tests suffers from

a fundamental design flaw that generates false positive results where there are none. Doc. 830-3,

Williams Reply ¶¶ 169-179. According to Williams, a standard false positive test only utilizes data

from the clean benchmark period because otherwise the test offers “no insights regarding whether

the results are due to errors in the model or that part of the benchmark period is affected by the

alleged conspiracy.” Id. ¶¶ 172, 176. Williams notes that Stiroh treated the damages period from

Williams’ model as part of her benchmark period. Id. ¶¶ 169, 179. Correcting for the treatment of

the damages period (2010-2016) as part of the benchmark period, Williams found an average

“overcharge” of “virtually zero at -0.03% and statistically insignificant, confirming that [his]

overcharge regression model does not produce false positive results.” Id. ¶¶ 179-182. While

Defendants are free to challenge the possible false positives in the clean damages period that

Williams’ overcharge regression creates, his analysis is still sufficient to establish common impact

for purposes of certifying a class. Put another way, Defendants have not shown that the supposed

false positives undermine the overcharge regression model’s finding of class-wide impact.

       In conclusion, the Court determines that the evidence put forward by the DPPs, including

Williams’ market structure analysis, overcharge regression model, supplemented by the in-sample

prediction method, robustness checks on the overcharge regression analysis, correlation analyses,




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  For her “clean damages period,” Stiroh changed the alleged impact period indicator from January 2010
to December 2016 to January 2005 to December 2007, the two-year period with available transaction data
and pre-dating the alleged conduct period. Doc. 839-2, Stiroh Report ¶ 133.

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production regression, and record evidence, when combined, is sufficient to show common

questions predominate as to common impact. Kleen, 831 F.3d at 925.

                                   Mangum’s Impact Analysis

       The Court turns next to whether CIIPPs can meet their predominance burden as to antitrust

injury. CIIPPs rely on the expert report of Mangum to demonstrate that antitrust impact can be

established through the presentation of common evidence.          Mangum analyzed the alleged

conspiracy’s impact across the proposed CIIPPs class using multiple tools of economic analysis.

Like the plaintiffs’ expert in Kleen, 831 F.3d at 927, Mangum began by analyzing the structure of

the turkey market.    He considered the dominant share of the turkey market the Processor

Defendants control, the high barriers to entry into the turkey market, the commodity-like nature of

the turkey products at issue, the relatively inelastic nature of the demand for turkey, and the

Processor Defendants’ opportunities to form and enforce a conspiracy. Doc. 839-1, Mangum

Report ¶¶ 95-101, 104-147. After considering the foregoing, he concluded that the structure and

characteristics of the turkey industry made it conducive to the formation and maintenance of the

alleged collusion, which would have made it difficult for any customer to avoid the impact of the

alleged collusion. Id. ¶ 150. Mangum also found the widespread use of market-based formulas in

setting prices in the turkey industry, which is consistent with widespread impact. Id. ¶¶ 158-159.

       Mangum then conducted correlation analyses to evaluate pricing patterns. He examined

the extent to which the Processor Defendants’ prices for whole birds, breast products, and ground

turkey products moved together. Doc. 839-1, Mangum Report ¶ 171, n.289. Mangum found that

“transaction prices within a part category move together across Defendants; that prices within a

part category move together across geographic locations; and finally, that prices within a part

category move together across individual customers.” Id. ¶¶ 167-174. The high degree of price



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correlations across Defendants, geographic locations, and direct purchasers was “evidence that no

individual direct purchaser could have avoided the impact of the alleged collusion.” Id. ¶ 167.

       In addition, Mangum conducted a direct purchaser overcharge regression analysis to

estimate the amount by which the prices of turkey products were artificially inflated above

competitive levels. Mangum specified a model that used January 2004 to June 2008 and January

2017 to December 2018 as its benchmark period and controlled for turkey production costs,

product and customer characteristics, seasonal effects (i.e., demand cyclicality), the cost of

competing proteins, real disposable personal income, and an outbreak of avian influenza that the

USDA believed impacted turkey production from May 2015 to December 2015. Doc. 839-1,

Mangum Report ¶¶ 176-197. He included a separate variable for prices paid on direct purchases

of Class Products during the alleged “ramp up” period (July 2008 - December 2009). Id. ¶ 187.

Mangum estimated separate regression models for whole birds, turkey breast meat, and ground

turkey. Each model found positive, statistically significant overcharges. Mangum estimated that

direct purchasers paid overcharges ranging from a low of 6.6 percent for breast meat to a high of

10.8 percent for whole birds. Doc. 839-3, Mangum Reply ¶ 199, Fig. 24. Based on this analysis,

Mangum opines that “[c]ommon evidence demonstrates that all, or nearly all, direct purchasers in

the relevant supply chain paid artificially inflated prices on purchases of turkey.” Doc. 839-1,

Mangum Report ¶ 30.

       Mangum then analyzed whether direct purchasers generally passed on price increases to

buyers in the CIIPPs supply chain and all or nearly all CIIPPs paid an overcharge during the

conspiracy. To conduct this analysis, Mangum used third-party distributor sales and purchase data

and found that the prices charged by resellers follows the price resellers paid to Defendant

producers, indicating distributors pass-through of Defendant turkey price charges. Doc. 839-1,



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Mangum Report ¶ 225, Figs. 41, 42, 43. He found the competitive environment distributors

operate in, distributors’ own discussions of pass-through, third-party data, and basic principles of

economics support pass-through of overcharges. Id. ¶¶ 200-225. Mangum also found low average

price to cost ratios—or, low profit margins—which are consistent with a highly competitive

market. Id. ¶ 225.

       Mangum used a regression model to estimate what percentage of overcharges were passed

on to CIIPPs and the breadth of those impacts across the proposed class using a sample of direct

purchasers’ purchase and sales data. Doc. 839-1, Mangum Report ¶¶ 226-232. The sample

consisted of data originating from 20 of the 160 direct purchaser resellers who resold Class

Products to the CIIPPs, and accounting for about 47 percent of Defendants’ sales into the CIIPP

supply chain. Id. ¶ 227. He explained that the third-party data “cover[ed] a range of distributor

types that includes large broadline foodservice distributors, smaller foodservice and retail

suppliers, wholesales, re-distributors, and cash and carry establishments.” Doc. 839-3, Mangum’s

Reply ¶ 185. Their data “collectively spans over 17 years, from January 2005 through August

2022, and totals over $2 billion in sales for relevant turkey products” and amounts to 4.8 million

observations. Id; Doc. 1074, Oct. 9, 2024 Hearing Tr. 226:25-227:1.

       Controlling for differences in price across different product types as well as individual

customers Defendants sold to, Mangum found distributors passed through about 100% of

overcharges. Doc. 839-1, Mangum Report ¶ 232. For the 20 direct purchaser resellers who resold

Class Products to the CIIPPs, Mangum found that individual pass-through estimates ranged from

89% to 131% for a weighted average pass-through rate for these 20 individual entities of 99.9%.

Id. ¶ 232, Fig. 44. While the data available to Mangum did not include every single reseller who

purchased from Defendants or sold to CIIPPs, he noted that “the estimated pass-through rates are



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quite consistent across a wide range of third party distributors, including different types of

companies, different geographic areas, and different levels in the supply chain.” Id. ¶ 232. By

applying his direct overcharge model to the third-party distributor sales data and systematically

testing for impact at the customer level, Mangum found that over 99.9 percent of CIIPPs (234,006

of 234,171 customers), have at least one impacted transaction. Doc. 839-3, Mangum Reply ¶ 195.

                    Defendants’ Objections to Mangum’s Impact Opinions

       Overcharge Regression: Defendants raise a number of challenges to the admissibility of

Mangum’s overcharge regression analysis and conclusions. Defendants first argue that Mangum’s

overcharge regression model is unreliable and fails to fit the case because it cannot show

overcharges on a substantial portion of Class Product sales to the direct purchaser resellers who

resold Class Products to the CIIPPs. CIIPPs purchased turkey products from a wide variety of

direct purchaser resellers instead of directly from the Processor Defendants. Doc. 839-1, Mangum

Report ¶ 207, Fig. 40. Thus, CIIPPs must first prove that direct purchaser resellers who resold

Class Products to the CIIPPs paid an overcharge on those products, and then prove that overcharge

was passed through to the CIIPPs. See Broilers, 2022 WL 1720468, at *18 (“In addition to showing

that direct purchasers paid increased market prices, the Indirects must show that these increased

prices were passed on to them.”); see also Doc. 839-1, Mangum Report ¶ 198.

       In support of their challenge to Mangum’s overcharge regression model, Defendants have

submitted Stiroh’s expert report.     Citing Stiroh’s report, Defendants argue that Mangum

improperly relies on averaging techniques which disregard variations in the price, identity of the

buyer, identity of the seller, contractual arrangement, and economic circumstances under which

each transaction occurred. As an initial matter, the Seventh Circuit has recognized that courts

afford wide “[l]atitude . . . to [experts] employing regression analysis, a proven statistical



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methodology used in a wide variety of contexts[.].” Manpower, 732 F.3d at 808; Broilers, 2022

WL 1720468, at *10 (“Regression analysis is a widely accepted method, often used as evidence in

litigation, and is commonly used in price-fixing cases.”). Moreover, this is one of the same

arguments Defendants raised in opposition to Williams’ in-sample prediction approach. The

reasoning above for why the Court rejected that argument applies with equal force here. In short,

the Court concurs with the other protein antitrust cases and finds that “averaging methodologies

are not inherently unreliable” and are permissible in circumstances where “individual negotiations

and contracts took place within the greater context of the market [price] that was allegedly

manipulated through collusive supply reduction.” Pork, 665 F. Supp.3d at 992, 1006 (citing

Broilers, 2022 WL 1720468, at *15); see also Tuna, 31 F.4th at 677. The Pork court rejected

defendant pork processors’ argument that “Class Plaintiffs cannot show classwide impact because

their models use an averaging approach that masks individualized differences between class

members” and found that “differences between negotiations and transactions do not disrupt the

fact that the Defendants’ conspiracy, if true, would cause all prices to increase.” Pork, 665 F.

Supp.3d at 1006. The same conclusion applies to this case. Indeed, Mangum contends that with

a sufficiently large supply of data, what Defendants describe as improper “averaging” in fact

increases the model’s ability to generate reliable results. Doc. 839-3, Mangum Reply ¶¶ 119, 126.

Despite the superficial appeal of Defendants’ argument that the overcharge regression model used

by Mangum impermissibly masks the variation present in the turkey industry by using an

averaging approach to allocate injury across the class, under the precedent described above, the

pooled overcharge regression model is a reliable method to prove class-wide antitrust impact.

       Defendants also criticize Mangum for improperly assuming that the impact of the alleged

conspiracy was constant throughout the alleged Class Period. Defendants argue that CIIPPs only



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claim that supply reductions occurred in 2008-2009 and 2012-2013. However, Defendants’

argument is undercut by the fact that CIIPPs’ claims in this case are not limited to the two alleged

periods of supply cuts identified above. CIIPPs also allege that Defendants conspired to raise, fix,

or maintain the price of turkey products throughout the Class Period. See Doc. 666, CIIPPs’ Fourth

Amended Class Action Cmplt.

       Using Stiroh’s findings, Defendants dispute that Mangum’s overcharge model can show

overcharges to a substantial portion of the direct purchaser resellers who resold Class Products to

the CIIPPs.    To demonstrate this alleged deficiency in Mangum’s analysis, Stiroh applied

Mangum’s overcharge models to specific direct purchasers, products, and every Defendant-

product combination. Stiroh claims her regressions, based on Mangum’s models, cannot show

overcharges for 38.5% of all Class Product sales to DPP resellers who sold to CIIPPS and thus,

there is no overcharge on those sales to pass through to the CIIPPs. Doc. 839-2, Stiroh Report ¶

153. Defendants highlight Stiroh’s overcharge regressions showing no statistically significant

overcharges on any Class Products sold to Costco, whole bird turkey products sold to Gordon Food

Service, or breast meat sold to Sam’s Club. Doc. 890 at 12. And they stress that when Stiroh

applies Mangum’s overcharge model to Foster Farms’ Frozen Ground Turkeys, Jennie-O Grand

Champion Raw Boneless Roast with Foil, Skin-On, and all ground turkey sales by Cooper Farms,

Farbest, and Prestage, it fails to show an overcharge. Id. at 13.

       While it is true that there are many customers who do not have a statistically significant

overcharge in Stiroh’s hundreds of regressions, CIIPPs and Mangum argue those results are due to

her use of narrow portions of data that do not contain enough observations to generate statistically

significant results. Doc. 839-3, Mangum Reply ¶¶ 121, 126-17; Doc. 934 at 11-14. According to

Mangum, “Stiroh’s own econometric results are flawed and unreliable—her customer-specific,



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product-specific, and Defendant-specific regression results are all plagued by small-sample issues

that Dr. Stiroh fails to disclose, let alone discuss or address in any way.” Doc. 839-3, Mangum

Reply ¶ 7. 21 As Mangum explains, “even a well-specified regression model will, if weakened

through disaggregation into ever-smaller samples of data, eventually generate results that lack

precision or fail or (in an antitrust context) indicate a supposed lack of impact.” Id. ¶ 193; see also

id ¶ 117. Mangum states that Stiroh’s customer-by-customer sub-regressions rely on small samples

to assess impact across direct purchasers when plentiful data is available, “engineering the

statistical significance problem she then complains about.” Id. ¶¶ 121-127. Mangum notes that in

her product-by-product regressions, “Stiroh chooses to estimate over 850 separate regressions—

one for each customer-turkey part pair.” Id. ¶ 119. In addition, Mangum testified that Stiroh’s

overcharge sub-regressions did not use 99 percent of the data he used in his analysis. Doc. 1074,

Oct. 10, 2024 Hearing Tr. at 533, 536, 538. CIIPPs conclude that all of Stiroh’s models and all of

Defendants’ examples suffer from the same data size problem: they disaggregate data “into

increasingly small samples of data that make it increasingly difficult for regression models to

reliably answer the questions being posed.” Doc. 839-3, Mangum Reply ¶ 138. 22

        Though Defendants believe Stiroh’s models show that “any CIIPP class member that

purchases any Class Product from Costco, whole birds from Gordon Food Service, or breast



21
  Mangun notes that Stiroh’s approach also finds that other critical variables—such as cost, GDP, seasonal
effects, and the HPAI outbreak—also routinely register as statistically insignificant, which undermines the
credibility of her interpretation of statistically insignificant overcharge coefficients. Doc. 839-3, Mangum
Reply ¶ 127; see also id. ¶ 83 (“slicing and dicing the data up into hundreds and thousands of small samples
leads to results that lack statistical significance in many important explanatory variables and are broadly
invalid as a basis for drawing conclusions.”).
22
   In response, Defendants point out that Stiroh limited her testing to only situations “with sufficient
observations in the alleged benchmark periods and Class Period to determine if [Mangum’s] model[]
produce[s] an overcharge for individual DPPs.” Doc. 963 at 8; see Doc. 839-2, Stiroh Report ¶ 95, ¶ 95(b).
Stiroh defines sufficient observations as more than 100 observations, including over 30 observations in both
the benchmark period and alleged Class Period in Mangum’s data. Doc. 839-2, Stiroh Report ¶ 95, ¶ 95(b).

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products from Sam’s Club would not have paid any overcharge on those purchases,” Mangum

explains Defendants’ interpretation is misleading. Doc. 890 at 12; Doc. 839-2, Stiroh Report ¶ 153.

Mangum notes: “What Dr. Stiroh fails to mention is that in neither of her part category estimates

for Costco, Sam’s Club or Gordon Food Services does she find a negative and statistically

significant overcharge.” Doc. 839-3, Mangum Reply ¶ 194. As Mangum also explains, “[w]hen a

regression model estimates a coefficient for a variable that fails a test of statistical significance,

that does not necessarily mean that the variable being tested has no impact on the dependent

variable.” Id. ¶ 122. The lack of statistically significant results “is not proving the absence of an

overcharge; rather, it is failing to provide clear evidence on way or the other.” Id. ¶ 123. In other

words, Stiroh cannot say with sufficient confidence that her results were not the result of random

chance. Id. ¶ 122.

        The Court is satisfied that Mangum’s overcharge methodology can show predominance as

to impact, particularly where most of Stiroh’s sub-regressions show statistically significant results

and virtually all of the statistically significant results were positive and point toward a finding of

common impact. Doc. 839-3, Mangum Reply ¶ 123. 23 Under these circumstances, the Court is

unconvinced that Mangum’s overcharge regression results should be excluded due to individual

sub-regressions that returned statistically insignificant results for some customers based on small

data sets. The Court’s finding is in line with the Broilers court which reasoned that defendants’

proposal to “unpool” the data Mangum analyzed in that case “d[id] not show that Plaintiffs’


23
   Of the 862 total customer-specific regressions Stiroh ran, 490 have statistically significant coefficients
and 466 (over 95 percent) of those were positive. Doc. 839-3, Mangum Reply ¶ 123. Further, 740 of the
862 customer specific regressions (about 86%) have positive coefficients (including statistically significant
and insignificant). Id; see also id. ¶ 194 (of the 137 [customer-part] regressions that delivered any
statistically significant result, over 97.8 percent are positive.”); see Tuna, 332 F.R.D. at 324 (Mangum
noting that “looking at only the statistically significant results, 98% of the DPPs showed positive
overcharges. And, looking at all customers that produced any type of result in [defendants’] model—
statistically significant or not—94% had positive overcharges.”).

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experts’ models are so unreliable that any of them should be excluded from the case.” Broilers,

2022 WL 1720468, at *18. Here, the structure of the turkey market, the documentary record, and

basic principles of economics presented by CIIPPs show that there is evidence that the alleged

conspiracy broadly affected direct purchasers of turkey products. Considering this evidence and

Mangum’s explanations about small sample sizes set forth above, Defendants’ arguments go to the

probative value, rather than the admissibility, of Mangum’s overcharge regression results. In re

Dealer Mgmt. Sys. Antitrust Litig., 2024 WL 3509668, at *4 (challenges as to the admissibility of

expert’s merits opinions “amounted to a battle of the experts that must be left for the factfinder to

resolve.”). Stiroh’s criticisms, which boil down to an insistence that she appropriately applied

Mangum’s model to the 862 direct purchasers with sufficient data, does not alter this conclusion.

As in Broilers, the best estimate of the overcharge for any direct purchaser is a “factual” issue to

be “resolved at summary judgment or trial . . . not a reason to exclude either perspective or deny

class certification.” Id. at *16.    Accordingly, Mangum’s overcharge regression results are

sufficiently reliable for use as common impact evidence. Kleen, 831 F.3d at 928, 929 (finding

multiple regression analyses provided a reliable means of measuring common impact and damages

in an antitrust class action).

        Pass-Through Regression: Next, Defendants advance a series of arguments for excluding

Mangum’s pass-through model.         Defendants assert that Mangum’s pass-through model is

unreliable and does not fit the case because it cannot show that any purported overcharge paid by

the direct purchaser resellers who resold Class Products to the CIIPPs was passed through to all or

nearly all CIIPP class members. To start, Defendants argue that Mangum failed to explain how he

chose his data and contend this resulted in his use of an unrepresentative sample. They also

observe that Mangum did not calculate the pass-through rates of each direct purchaser reseller who



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resold Class Products to the CIIPPs. Rather, he calculated the average pass-through rate for 20

direct purchaser resellers and then applied it to all 160 direct purchaser resellers who resold Class

Products to the CIIPPs. Defendants suggest that because direct purchaser resellers passed through

overcharges at different rates, Mangum’s use of a weighted average improperly “masks” the

substantial variation he calculates for individual pass-through rates of direct purchaser resellers

who resold to the CIIPPs.

       These arguments miss the mark. Mangum thoroughly described the third-party data that

his pass-through models analyze. Doc. 839-1 Mangum Report ¶¶ 227-229 & App. C. Mangum

also used all of the usable data that Defendants and third-party distributors produced in this

litigation, without performing any sampling. Doc. 1074, Oct. 9, 2024 Hearing Tr. 226:1-7. The

data Mangum analyzed covered a wide range of distributor types, spanned over 17 years, and

totaled over $2 billion in sales for relevant turkey products. Doc. 839-1 Mangum Report ¶ 227. At

the hearing, Mangum explained that, in his experience of gathering information to do surveys or

empirical results, 47 percent of the third-party data is substantial and a “very, very large” sample.

Doc. 1074, Oct. 9, 2024 Hearing Tr. 225:16-22. Given the breadth and diversity of this data,

Mangum concluded that his analysis of the CIIPP supply chain was sufficiently representative of

the relevant time period, types of market participants, and class commerce. Doc. 839-3, Mangum

Reply ¶ 185; Doc. 1074, Oct. 9, 2024 Hearing Tr. 226:9-227:1. Mangum also emphasizes that

“[a]s a matter of economics, prices paid by CIIPP Class members do not need to be measured

across every conceivable supply chain combination, since the prices charged by any supplier to

commercial preparers are formed in the same market.” Doc. 839-3, Mangum Reply ¶ 185. This

opinion is based on the highly competitive nature of the foodservice distributor market and

Defendants’ documents and third-party statements supporting pass-through. Doc. 839-1, Mangum



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Report ¶¶ 215-24. 24 Mangum explains that “basic economic principles dictate that pass through

is not only expected but is necessary for distributors to remain in business.” Doc. 839-3, Mangum

Reply ¶ 178. Further, Mangum persuasively notes that the consistently high estimates of pass-

through on representative class commerce demonstrates that his analysis is robust and a reliable

measure of the overcharge that has been passed through to all or nearly all CIIPPs. Id. ¶ 185.

        Moreover, it is unnecessary for Mangum to have calculated a pass-through rate for each

direct purchaser reseller who resold Class Products to the CIIPPs to reliably show common impact.

The appropriateness of extrapolating pass-through results from a sample of direct purchaser

resellers to all indirect purchasers was properly upheld in other protein cases. See Broilers, 2022

WL 1720468, at *19 (pass-through estimates based on 22 of 540 direct purchasers accounting for

65% of sales); Pork, 665 F. Supp. 3d at 1003–04 (granting Consumer Indirect Purchaser Plaintiffs’

motion for class certification based in part on pass-through analysis “using data submitted by

thirty-nine industry participants, who represent a variety of resellers in the pork supply chain”); In

re Packaged Seafood Prod. Antitrust Litig., 332 F.R.D. 308, 332, 335 (S.D. Cal. 2019) (“Tuna”),

aff'd sub nom., Olean Wholesale Grocery Coop., Inc. v. Bumble Bee Foods LLC, 31 F.4th 651 (9th

Cir. 2022) (granting indirect Commercial Food Preparer Plaintiffs’ class certification motion based

in part on pass-through estimate analyzing “data sets produced by Bumble Bee, COSI, StarKist/Del

Monte, Costco, Dot Foods, Sam's Club, Sysco, US Foods, and Walmart”). Although Mangum’s

pass-through regression model’s reliance on 46.3% of the market purchases is not as robust as his

pass-through regression model’s reliance on 65% of the sales found reliable in Broilers, the Court

declines to finds an expert’s use of 46.3% of market purchase data is by itself adequate justification


24
  See also Pork, 665 F. Supp.3d at 1004 (very competitive pork distribution market “means that there are
small profit margins and it is more likely that overcharges would be passed through because distributors
cannot absorb those losses.”); Tuna, 332 F.R.D. at 333 (“basic economic theory demonstrates that the more
competitive an industry, the higher the pass-through rate becomes.”).

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to find his pass-through methodology unreliable at the class certification level. Mangum’s

explanation of the economic principles of pass-through, the competitive environment in which

third-party distributors operate, and Defendants’ documents and third-party statements, when

combined, provide support for his opinion that the data he used is sufficiently representative.

Defendants’ and Stiroh’s criticisms may be relevant to the evidentiary weight of Mangum’s pass-

through testimony, but it is not a reason to question the reliability of his method. Defendants

remain free to challenge the representativeness of the 20 direct purchaser resellers through cross-

examination or presentation of contrary evidence at trial.

       Defendants’ contention that Mangum’s regression models inappropriately used a weighted

average in his pass-through calculation is equally unavailing. According to Defendants, Mangum’s

pass-through model is unreliable because he calculates individual pass-through rates that vary

significantly (ranging from 89% to 131%) and then masks the 42% variation by using a weighted

average pass-through rate of 99.9% for all 160 direct purchaser resellers who resold Class Products

to the CIIPPs. In the class certification context, other protein cases have accepted the use of

average pass-through rates to show impact in indirect purchaser cases. Broilers, 2022 WL

1720468, at *19 (relying on Mangum’s pass-through analysis that showed an average pass-through

rate of 96% and rejecting defendants’ arguments that “unpooling” or disaggregating the analysis

prevented it from demonstrating pass-through); Pork, 665 F. Supp.3d at 994, 1004 (Commercial

IIPPs’ expert’s analysis found average pass-through of approximately 100% based on average

pass-through rates between 95.5% and 100.2%). While Defendants characterize the range of pass-

through rates as a “substantial variation,” Mangum explains the level of variation as “relatively

modest.” Doc. 839-3, Mangum Reply ¶ 180. Moreover, all of the specific pass-through rates

Defendants highlight are positive. Doc. 888 at 36. At most, the variation Defendants cite shows



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that distributors absorbed some of the alleged supra-competitive prices while passing on a portion

of the overcharges to downstream purchasers. Defendants have thus not shown that any significant

number of class members have been unharmed. In short, Defendants’ challenge to the variation

among individual pass-through rates and Mangum’s use of averaging as part of his pass-through

analysis clearly goes to the persuasiveness of Mangum’s opinion, not its admissibility. Broilers,

2022 WL 1720468, at *19 (finding to the extent defendants’ expert’s “unpooling” pass-through

analysis was sound, the 39% variation among pass-through rates of direct purchaser resellers was

still sufficiently significant to demonstrate damages).

       Defendants next assert Mangum’s pass-through model is unreliable because some

distributors marked up their prices and their pass-through rates were higher than 100%. Of the 20

direct purchaser resellers, 12 show a pass-through rate greater than 100%. Mangum explains that

“[w]hen resellers rely on constant percentage markups, the pass-through rate will be 100 percent

plus the constant markup percentage.” Doc. 839-1, Mangum Report ¶ 200. Defendants observe

that by including pass-through rates above 100%, Mangum’s “average pass-through” includes

constant markups imposed by direct purchaser resellers independent of any purported overcharge

that was supposedly passed through to a CIIPP class member. They argue that this also skews

Mangum’s “average pass-through” that he applies to all 160 direct purchaser resellers who resold

Class Products to the CIIPPs. But a pass-through rate above 100% is consistent with Mangum’s

finding that distributors pass through overcharges. Moreover, because Defendants do not contend

that pass-through rates above 100% did not harm CIIPP class members, their argument does not

suggest that some CIIPPs escaped the effects of the conspiracy. Defendants have thus not shown

that the inclusion of such markups in the average pass-through rate compels a conclusion that

Mangum’s pass-through model is so lacking in reliability at this point in the litigation.



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                               CIIPPs’ Common Proof of Impact

       The next issue is whether CIIPPs can rely on common evidence to prove antitrust impact.

CIIPPs have provided expert evidence that demonstrates they are capable of showing class-wide

impact with common evidence. Mangum conducted a comprehensive economic analysis of the

geographic and product markets, the structure of those markets, the documentary record,

correlations in turkey prices, and multiple-regression models that analyzed the alleged

conspiracy’s price effects. See Doc. 839 at 39-44.       Mangum’s multiple regression models

separately estimate both the breadth and magnitude of the conspiracy’s effects on direct purchasers

and CIIPPs. His analyses show that: (1) the conspiracy broadly affected direct purchasers of turkey

products by causing them to pay supra-competitive prices, and (2) direct purchaser distributors

always passed through some overcharges to CIIPPs and, on average, tended to pass through about

100% of the overcharges. Based on these findings, Mangum found that all or nearly all class

members suffered some antitrust injury, which he confirmed by testing for impact at the individual

class member level using a customer-specific regression methodology. The Court is satisfied that,

for class certification purposes, Mangum’s regression analyses are common proof that all or nearly

all direct purchasers paid overcharges because of the conspiracy and passed those overcharges to

the CIIPPs. See Broilers, 2022 WL 1720468, at *16; Pork, 665 F. Supp.3d at 1004.

                                 Defendants’ Impact Arguments
       Defendants contend that CIIPPs have failed to demonstrate that common proof can be used

to establish that all or nearly all DPP class members were overcharged for their purchases of Class

Products and that all or substantially all DPP class members passed on any alleged overcharge to

CIIPPs. Defendants attack Mangum’s methodologies on many of the same grounds as in their

Daubert motion. They contend CIIPPs have failed to show a class-wide method of proving injury

using common proof because: Mangum’s overcharge model shows no overcharge for a significant

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portion (38.5%) of all Class Product sales to direct purchaser resellers who resold to CIIPPs, Doc.

888 at 32-34; Mangum did not establish that his pass-through regression model used a

representative sample, id. at 35; and Mangum’s use of a weighted average in his pass-through

calculations ignores the variation among individual pass-through rates, id. at 36-37. 25 As

previously discussed, Defendants’ evidence and arguments do not show that Mangum’s models

are so unreliable that any of them should be excluded from the case at this time, and Mangum’s

overcharge and pass-through regression models are sufficient evidence regarding impact common

to the class. 26 In sum, the issues raised by Defendants do not undermine CIIPPs’ showing that

class-wide impact may be established through common proof. Messner, 669 F.3d at 819 (“common

evidence and common methodology to prove a class’s claims is sufficient to support a finding of

predominance on the issue of antitrust impact.”). The Court finds CIIPPs have satisfied the

predominance requirement as to antitrust impact and proceeds to consider antitrust damages.




25
  Defendants cite Sysco as an example of how Mangum’s average pass-through rate is inadequate to show
injury to substantially all class members. Defendants state that record evidence demonstrates that Sysco
does not “always” pass through costs increases from suppliers to customers, yet Mangum’s model assumes
a 99.9% pass-through rate for all Sysco sales to CIIPPs. Doc. 888 at 37. This issue does not defeat class
certification. Sysco’s data is consistent with Mangum’s conclusion that “all or nearly all CIIPP Class
Members” sustained impact. Doc. 839-1, Mangum Report ¶ 199. Moreover, Mangum persuasively explains
that “[w]hile 100 percent pass-through is how distributors generally operated, there are a number of reasons
why one may not necessarily expect to see 100 percent pass-through across the board, including slight
delays in implementing price adjustments or differences across third parties in that timing.” Id. ¶ 232.
Further, Mangum’s finding that Sysco had a pass-through rate of 96% is strong evidence to support
Mangum’s opinion that pass-through was commonplace in the CIIPPs’ supply chain.
26
  In addition, Defendants assert that the CIIPP class definition is fatally overbroad because it incorporates
a wide variety of commercial entities and the proposed class “involve[s] sales that far exceed any acceptable
threshold for uninjured class members.” Doc. 888 at 46. In support, Defendants again claim that under
Mangum’s approach, there are no overcharges on more than 38% of the Defendants’ sales into the CIIPP
supply chain. The Court rejects this argument for the same reasons discussed above concerning Defendants’
Daubert challenge to Mangum’s overcharge methodology.

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               3. Antitrust Damages
       The parties dispute whether Plaintiffs’ damages models demonstrate that damages are

susceptible to common proof, so as to satisfy the predominance requirement. As for DPPs,

Defendants argue that calculating damages for each DPP would devolve into individualized fact

issues and predominate over issues to the class. Plaintiffs must show that “damages are susceptible

of measurement across the entire class for purposes of Rule 23(b)(3).” Comcast, 569 U.S. at 35.

DPPs rely on Williams’ testimony to show estimated damages for the proposed DPP class. Based

on his overcharge regression analysis, Williams quantifies class-wide damages by comparing (1)

prices direct purchasers paid for turkey products to (2) the estimated prices they would have paid

but for the conspiracy. Doc. 830-2, Williams Report ¶¶ 14, 448. Similar to the arguments in support

of their challenge to Williams’ underlying overcharge regression showing impact predominance,

Defendants again assert that (1) Williams’ regression model “inappropriately relies on averages

for an industry that lacks uniformity” and (2) Stiroh’s customer-specific, product-specific, and

Defendant-product-category-specific regressions show Williams would assign damages to

transactions where putative class members did not pay an overcharge. Doc. 877 at 58-59. For the

reasons already discussed in relation to Defendants’ impact predominance arguments, these

arguments fail to undermine DPPs’ contention that their damages theory is susceptible to common

proof such that class certification would be improper.

       Further, on the issue of averages, “multiple regression analysis, by definition, makes use

of average to identify underlying trends in a particular industry or data series, . . . and is generally

considered an appropriate tool for estimating antitrust damages on a class-wide basis.” In re Steel

Antitrust Litig., 2015 WL 5304629, at * 11 (N.D. Ill. Sept. 9, 2015); see also In re Dealer Mgmt.

Sys. Antitrust Litig., 2024 WL 3509668, at *15 (“The fact remains that courts handling antitrust

class actions routinely endorse the practice of using regression models to estimate an average

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overcharge that can establish injury and measure damages on a classwide basis, so long as the

regression analysis is based on a rigorous application of economic theory.”). Here, any individual

questions as to damages do not predominate over the common ones. DPPs propose a common

method for determining aggregate damages based on Defendants’ actual sales and each DPP can

be allocated a pro rata share of any recovery based on their volume of purchases.

       Defendants present another argument to challenge DPPs’ demonstration of damages using

common proof. Defendants argue that individualized proof is necessary to determine that certain

products DPPs purchased were Class Products at all, highlighting ground turkey sold by Cargill as

an example. Defendants point out that over $1 billion in ground turkey sold by Cargill alone may

have included breast or wing meat and therefore should be excluded from Class Product sales. 27

Doc. 877 at 60. But this kind of contention does not defeat class certification and determining

whether a particular product falls into the Class Products definition does not need to be decided

now. As the Seventh Circuit explained in Kleen, “Rule 23 does not demand that every issue be

common; classes are routinely certified under Rule 23(b)(3) where common questions exists and

predominate, even though individual issues will remain after the class phase.” Kleen, 831 F.3d at

922 (emphasis in original); Mullins v. Direct Digital, LLC, 795 F.3d 654, 671 (7th Cir. 2015) (“It

has long been recognized that the need for individual damages determinations at [a] later stage of

the litigation does not itself justify the denial of certification.”); Messner, 669 F.3d at 815 (“It is

well established that the presence of individualized questions regarding damages does not prevent

certification under Rule 23(b)(3).”). The key common questions posed by DPPs relating to

antitrust conspiracy, impact, and aggregate damages predominate over any individualized



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  Expressly excluded from DPPs’ Class Products definition are “ground turkey products made from turkey
breasts,” “ground turkey products made from turkey wings,” “organic ground turkey products,” and “[no
antibiotics ever] ground turkey products.” Doc. 665, DPPs’ Third Amended Class Action Cmplt. at 1, n.1.

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questions of damages related to determinations about whether certain products fall into the Class

Products definition. See Tyson Foods, 577 U.S. at 453 (“When ‘one or more of the central issues

in the action are common to the class and can be said to predominate, the action may be considered

proper under Rule 23(b)(3) even though other important matters will have to be tried separately,

such as damages . . . .’”). Having considered Defendants’ objections to predominance as to DPPs’

damages, the Court is satisfied that any individualized damages issues will not overwhelm the

questions of law and fact that are common to the class.

       This leads to a consideration of Defendants’ challenges to CIIPPs’ aggregate damages

model. “The use of aggregate damages calculations is well established in federal court and implied

by the very existence of the class action mechanism itself.” In re Pharm. Indus. Average Wholesale

Price Litig., 582 F.3d 156, 197 (1st Cir. 2009). Moreover, as the Seventh Circuit recognized in

Kleen, the “determination of the aggregate classwide damages is something that can be handled

most efficiently as a class action, and the allocation of that total sum among the class members can

be managed individually, should the case ever reach that point.” Kleen, 831 F.3d at 929; see also

Broilers, 2022 WL 1720468, at *19.

       CIIPPs rely on expert testimony from Mangum to show estimated damages for the alleged

CIIPP class. To calculate the aggregate damages the proposed class suffered, Mangum estimated

the portion of sales to direct purchasers that ultimately were resold to nationwide commercial food

preparers, then estimated the portion of these relevant nationwide direct purchaser sales purchases

that were made in Class States. Doc. 839-1, Mangum Report ¶ 234. Mangum next applied the

relevant overcharge and the pass-through rate to the relevant sales, accounting for different

overcharges for different time periods and different part categories. Id. ¶ 240. Defendants assert

CIIPPs fail to provide a reliable method to show damage on a class-wide basis and individualized



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inquires will be necessary for the same reasons they cannot show common impact, namely that

Mangum’s overcharge model shows no statistically significant overcharge for 38.5% of

Defendants’ sales that he estimates were resold to CIIPPs. Defendants’ criticisms of Mangum’s

direct purchaser regressions fail for the reasons that the Court has already explained. CIIPPs have

offered “a classwide method of proving damages,” and Rule 23(b)(3)’s predominance requirement

is thus satisfied with respect to the damages element. Kleen, 831 F.3d at 929; see also Pork, 665

F. Supp. 3d at 1008; Broilers, 2022 WL 1720468, at *19.

       Defendants also insist that Mangum’s damages model violates Comcast because he offers

no analysis to separately measure the effect resulting from Defendants’ alleged information sharing

through Agri Stats (the basis of CIIPPs’ “rule of reason” claim) versus Defendants’ alleged

coordinated production cuts (the basis of their “per se” claim). Doc. 888 at 38. Defendants criticize

Williams’ overcharge methodology on the same ground. See Doc. 877 at 67-68. As will be

discussed below, there is no Comcast problem here.

               4. Rule of Reason Violation

       Turning to the next issue, Defendants maintain that DPPs’ rule of reason claim lacks

predominance because DPPs have not established that there is a single relevant product market.

The rule of reason standard applies to DPPs’ claim that Defendants improperly used Agri Stats.

“Under a Rule of Reason analysis, the plaintiff carries the burden of showing that an agreement or

contract has an anticompetitive effect on a given market within a given geographic area.” Agnew,

683 F.3d at 335. This requires plaintiffs to “identify a relevant product and geographic market in

which [defendants] have or were dangerously likely to obtain monopoly power.” Sharif Pharmacy,

Inc. v. Prime Therapeutics, LLC, 950 F.3d 911, 916 (7th Cir. 2020). Under the Sherman Act, a




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relevant market consists of “commodities reasonably interchangeable by consumers for the same

purposes.” Id.

        Williams opines that “the market for turkey meat produced in the United States is a relevant

antitrust market.” Doc. 830-2, Williams Report ¶ 9. According to market research, the “top three

turkey cut types are ground turkey, whole bird, and turkey breast as measured by dollar sales in

the U.S. in 2021.” Id. ¶ 29. These are the three Class Products. Defendants do not challenge the

geographic scope of the relevant market. Defendants primarily contend that the product market is

too broad because whole birds are not in the same market as breast and ground turkey.

        As a threshold matter, DPPs argue that they do not need to establish a relevant antitrust

market because they have presented direct evidence of anticompetitive effects—namely, Williams’

overcharge regression analysis. See Republic Tobacco Co. v. N. Atl. Trading Co., 381 F.3d 717,

736 (7th Cir. 2004) (noting that “there are some circumstances where to establish a violation of

antitrust laws it is unnecessary to prove that defendant wielded market power in a properly defined

product and geographic market, and may rely instead on direct evidence of anticompetitive

effects.”). DPPs additionally respond that they will use common evidence to prove that turkey is

the relevant product market. Because DPPs have presented sufficient common evidence capable

of proving a relevant product market, the Court need not resolve at this time whether DPPs may

rely on Williams’ analysis as direct evidence of anticompetitive effects. For example, Williams

offers class-wide evidence demonstrating that the alleged cartel could profitably impose a Small

but Significant and Non-transitory Increase in Price (a SSNIP) over the competitive price level for

turkey products. 28 Doc. 830-2, Williams Report ¶¶ 112-123. Williams also reaches his conclusion



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  Williams explains that a “hypothetical monopolist” test is a widely accepted, standard econometric
methodology for defining a relevant antitrust market. Doc. 830-2, Williams Report ¶ 9. That test asks
whether a hypothetical profit-maximizing firm, not subject to price regulation, that was the only present

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that turkey meat constitutes a relevant product market by considering common evidence that: (1)

industry participants and consumers consider it a unique market, id. ¶¶ 52-63; (2) turkey products

have different characteristics and uses than other meat products, id. ¶¶ 64-76; (3) turkey has unique

production facilities, id. ¶¶ 77-88; (4) demand for turkey is inelastic with no close demand

substitutes, id. ¶¶ 89-96, 104-106; (5) turkey has a distinct pricing structure compared to other

meat categories, id. ¶¶ 97-103; and (6) buyers of turkey utilize specialized vendors, id. ¶¶ 107-110;

see also Doc. 938 at 46-48.

       Defendants’ position that DPPs cannot establish predominance because whole birds are not

in the same market as breast and ground turkey is not persuasive at this stage. For purposes of

class certification, the relevant question is whether common evidence can be used to define the

relevant product market. Whether DPPs have correctly defined the relevant product market is a

question which applies to the claims of all class members and the scope of the relevant product

market is not an issue that affects different class members differently. Williams’ opinion is

sufficiently supported to allow a finding that DPPs have met their burden to show that evidence

common to the class is capable of answering the question of whether the relevant product market

is turkey meat. Thus, the Court finds that Williams demonstrates that DPPs’ rule of reason claim

is capable of proof through common evidence.

       Defendants argue that DPPs’ rule of reason claim suffers from an additional problem that

precludes a finding or predominance. They maintain that Williams’ overcharge regression model

does not measure the purported effect on turkey prices, if any, attributed to Defendants’

subscriptions to Agri Stats and EMI. Defendants further claim that DDPs’ inability to certify a

class on their rule-of-reason claim on this basis means their per se claim cannot be certified under


and future seller of a product or products likely would impose at least a SSNIP on at least one of the
products. Id.

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Comcast because Williams’ overcharge regression does not attempt to disaggregate the alleged

price effects specific to that claim.

        But the same conduct underlies both DPPs’ per se and rule of reason claims. As alleged in

the Complaint, DPPs’ first claim for violation of Section 1 of the Sherman Act under a rule of

reason analysis is based on Defendants’ alleged unlawful agreement to exchange production and

pricing information via Agri Stats, which artificially inflated the price of turkey. And DPPs’ second

claim for violation of Section 1 of the Sherman Act under a per se analysis is based on that same

conduct, as well as additional evidence, e.g., direct communications among Defendants, providing

proof of a horizonal agreement to artificially inflate turkey prices. As the Broilers court explained,

“rule of reason claims are premised on the allegation that Defendants’ sharing of information

through Agri Stats had a substantial anticompetitive effect,” and the “per se claim is also based, in

part, on the same information sharing allegation,” as “sharing Agri Stats reports was one of the

primary means by which Defendants facilitated the alleged price fixing agreement.” Broilers, 2023

WL 6366777, at *1 (N.D. Ill. Sept. 25, 2023). “In other words, the per se and rule of reason claims

are not separate claims, but merely different theories of liability for the same defendant conduct.”

Id; see also Pork, 665 F. Supp. 3d at 996 n.14 (“Technically, rule of reason and per se are not

separate claims, but rather ways to analyze an antitrust claim.”).

        In Kleen, the Seventh Circuit rejected defendants’ challenge based on Comcast, explaining

that the “plaintiffs’ damages expert in Comcast had estimated harm based on the assumption that

all four theories of liability that plaintiffs offered had been established,” while the class certified

by the district court “was limited to only one of those theories,” such that plaintiffs were “without

a theory of loss that matched the theory of liability.” Kleen, 831 F.3d at 926, 929. “All Comcast

said” is that “the damages theory must correspond to the theory of liability.” Kleen, 831 F.3d at



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929. The Kleen court affirmed class certification where plaintiffs’ expert modeled damages that

corresponded to the theory of liability by “control[ling] for other influences on price” and

“isolat[ing] the impact of the conspiracy” using a “dummy variable.” Id. at 929.

       This case is unlike Comcast as both of DPPs’ theories remain in the case. Pork, 665 F.

Supp.3d at 988. Moreover, as in Kleen—and Tuna, Broilers, and Pork—Williams (and Mangum

for CIIPPs) performed an overcharge regression analysis to determine “prices that would have

prevailed” but for the conspiracy. Doc. 830-2, Williams Report ¶¶ 347-370. By “[p]lugging in

known prices and market factor data from the class period and running the regression equation to

solve for the dummy variable,” Williams “calculate[d] the portion of price not accounted for by

the market factors.” Broilers, 2022 WL 1720468, at *12. That method can be used to provide a

measure of damages for Defendants’ alleged price-fixing in violation of Section 1 of the Sherman

Act, whether analyzed under per se or rule of reason theories. As Williams explains, “[t]he dummy

variable regression methodology does not require separate control variables for specific alleged

actions taken by the Defendants in formulating and carrying out the challenged conduct in order

to reliably estimate the total effect of the challenged conduct.” Doc. 830-3, Williams Reply ¶ 168;

Doc. 938-42, Williams Dep. 100:17-101:1. In short, DPPs’ per se and rule-of-reason claims do

not involve different damages theories which require separate damages models. See In re VHS of

Michigan, Inc., 601 F. App’x 342, 343-44 (6th Cir. 2015) (Because expert’s damages calculation

applied to either theory of anticompetitive conduct—the per se wage fixing claim and the rule of

reason claim—damages were not improperly aggregated under Comcast). Lastly and contrary to

Defendants’ contention, Williams’ overcharge regression model’s ramp-up and benchmark periods

align with the basis for the DPPs’ rule of reason theory. See Doc. 938 at 50; Doc. 830-3, Williams

Reply ¶ 130. Accordingly, the Court finds that Williams’ overcharge regression model is capable



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of measuring the effects of the alleged conspiracy and consistent with DPPs’ rule of reason

theory. 29

               5. State Law Claims

        Moving on to CIIPPs’ state law claims, CIIPPs bring claims under the antitrust laws of 23

states, the consumer protection statutes of 13 states, and common law unjust enrichment claims

under 24 states and Washington D.C. Defendants argue class-wide treatment is inappropriate

because the relevant state laws governing their conduct vary greatly. “[T]he Seventh Circuit has

upheld decisions to certify a nationwide class so long as ‘the central questions in the litigation are

the same for all class members.’” Al Haj v. Pfizer Inc., 338 F. Supp.3d 741, 757 (N.D. Ill. 2018)

(quoting Pella Corp. v. Saltzman, 606 F.3d 391, 394 (7th Cir. 2010)). Although class certification

will sometimes “be inappropriate” when recovery “depends on law that varies materially from

state to state,” plaintiffs can avoid this problem: “[b]y relying principally on federal substantive

law, the representative plaintiffs [may] follow[] the pattern of antitrust and securities litigation,

where nationwide classes are certified routinely even though every state has its own antitrust and

securities law, and even though these state laws may differ in ways that could prevent class

treatment if they supplied the principal theories of recovery.” In re Mexico Money Transfer

Litigation, 267 F.3d 743, 746-47 (7th Cir. 2001). Moreover, in other indirect purchaser protein

cases, courts have found that the need to apply multiple states’ laws did not preclude certification

of CIIPPs’ claims. Pork, 665 F. Supp.3d at 1009-10 (“discrepancies in state law are not material”

and “will not confuse the jury”); Broilers, 2022 WL 1720468, at *20; Tuna, 332 F.R.D. at 346




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  For the same reasons, the Court likewise rejects Defendants’ argument that Mangum’s damages model
violates Comcast because he offers no analysis to separately measure the price effect resulting from
Defendants’ alleged information sharing through Agri Stats versus Defendants’ alleged coordinated
production cuts.

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(certifying thirty-two individual statewide classes under the antitrust and consumer protection laws

of those states).

        Defendants contend that CIIPPs cannot establish predominance or superiority because they

have not presented a manageable way to address the material variations in the many state laws

governing their claims. Defendants note that an extensive analysis of state law variations is

required by CIIPPS to address whether differences in state law may swamp any common issues.

For their part, CIIPPs contend that the purported variations in state law are not material to their

claims and can easily be managed. Plaintiff have provided an analysis of the state antitrust statutes

that are construed in harmony with the Sherman Act and authority that allows indirect purchasers

to recover damages from a horizontal antitrust violation via the state’s consumer protection or

unjust enrichment law. See Docs. 838-1, 838-2, 838-3.

        Any variation among states regarding antitrust, consumer protection, and unjust

enrichment laws does not preclude a finding of predominance here. First, Defendants argue that

CIIPPs have not presented a manageable way to try their state antitrust claims in a single trial

where some state antitrust statutes require courts to prevent duplicate liability, some states provide

for actual damages, but not enhanced damages, and some states require additional proof for higher

damages (such as flagrant or willful conduct). Regarding duplicative liability, CIIPPs’ review of

the state antitrust statutes confirms that they contain parallel language concerning the avoidance

of duplicative liability. See Doc. 838-1; Doc. 929-1; see also Pork, 665 F. Supp.3d at 1009 (finding

“any differences in antitrust duplicative liability provisions are not material because most states

have such provision, and the states’ antitrust laws are harmonious with the Sherman Act.”).

Moreover, even if the state laws differed, there is no risk of duplicative liability in connection with

CIIPPs’ claims because there is no other class that could potentially claim duplicative damage. No



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other class claims damages for meals sold by the restaurants and entities that make up the proposed

CIIPPs class.

       Further, the differences in the availability of statutory damages and the showing required

to recover them do not present an obstacle to class certification. Mangum calculated the volume

of commerce for each state in the proposed class. Doc. 839-1, Mangum Report ¶ 239, Fig. 47.

This state-by-state calculation allows Mangum to easily calculate the damages due to class

members for every state in the class pursuant to any in limine rulings the Court enters regarding

the availability of enhanced damages. The Court is also satisfied that some states’ requirement of

a “flagrant” or “willful” antitrust violation to recover statutory damages will not create

manageability problems. The required proof can be handled through a special verdict form to

ascertain whether the alleged conspiracy rose to the level of a flagrant or willful violation. In re

HIV Antitrust Litig., 2022 WL 22609107, at *16 (N.D. Cal. Sept. 27, 2022) (concluding that some

states’ antitrust laws limiting damages to actual damage or only allowing for enhanced damages

based on a higher showing of flagrant or willful conduct is a “relatively minor variation and does

not overwhelm the common issues on liability”). Accordingly, the potential damages issues

Defendants raise do not overwhelm the common issues and make class treatment inappropriate.

Tyson, 577 U.S. at 453.

       The Court also dismisses Defendants’ argument that there is variation among the state

antitrust laws as to their treatment of in-state versus out-of-state commerce which would require

application of differing legal standards in an individualized process. Given the fact that Plaintiffs

allege that the conspiracy made use of Agri Stats to share competitively sensitive information and

Agri Stats accounted for about 95% of the turkey industry, CIIPPs will likely prove some intrastate

activity in each of the states where Defendants operate. See Broilers, 2022 WL 1720468, at *20



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(finding some states’ requirement of intrastate activity in addition to interstate activity did not

preclude finding that class action was superior method of resolving the plaintiffs’ claims). Thus,

differences in state antitrust laws involving treatment of in-state versus out-of-state commerce do

not render a multi-state class action unmanageable in this matter. Lastly, Defendants’ string cite

of cases, accompanied by the statement that “courts in many states have found differences between

federal and state antitrust laws,” does not demonstrate that any differences in state law are material

and relevant to CIIPPs’ claims. See Doc. 888 at 44-45; Doc. 930 at 25 n.18.

       In addition to state antitrust laws, Defendants argue that variations in states’ consumer-

protection and unjust-enrichment laws would require a jury deciding liability to navigate multiple

legal standards and different elements. The Court is not convinced that the differences in laws are

material here where CIIIPs premise their state consumer protection and unjust enrichment claims

on proof of an antecedent violation of federal antitrust law. See Pork, 665 F. Supp.3d at 1010

(“[D]ifferences that typically defeat class certification in other cases are not material in this matter

because unjust enrichment claims are nearly identical in the antitrust context.”); Broilers, 2022

WL 1720468, at * 20 (finding “differences in consumer protection law concerning reliance and

intent are simply not relevant to a price-fixing claim. Similarly, any state where the unjust

enrichment claim is the primary basis for recovery will be satisfied by proof of a Sherman Act

violation”). Defendants also raise the issue of different limitations periods between the various

states, and in some instances, between the various claims within a state. But “[a]s long as a

sufficient constellation of common issues binds class members together, variations in the sources

and application of statutes of limitations will not automatically foreclose class certification under

Rule 23(b)(3).” In re Linerboard Antitrust Litig., 305 F.3d 145, 162 (3d Cir. 2002). Here,

Defendants have not shown that differences in applicable limitations periods are significant and



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unmanageable. See Broilers, 2022 WL 1720468, at *20 (finding “the effect of different states’

varying statutes of limitations” “is only relevant to the extent of damages and can be easily

addressed by excluding sales outside the relevant periods.”); Tuna, 332 F.R.D. at 337-38 (same);

In re HIV Antitrust Litig., 2022 WL 22609107, at *15 (“differences in limitations periods can be

managed at trial via jury instructions and verdict form.”).

        In the end, it is clear that the trial will primarily focus on common proof of Defendants’

alleged anticompetitive conduct, CIIPPs’ expert economic evidence, and Defendants’ effort to

rebut that evidence. Plaintiffs have made a sufficient showing at this point that class certification

will not present insuperable state law obstacles. As the case moves forward, if material variations

in state laws impose manageability problems that are not yet evident at this stage of the

proceedings, the Court has the authority to adjust the class definition including through creating

subclasses as appropriate. Saltzman v. Pella Corp., 257 F.R.D. 471, 477 (N.D. Ill. 2009), aff’d 606

F.3d 301 (7th Cir. 2010) (“Courts have created subclasses to manage any potential conflicts among

different state’s laws.”). Further, the Court may “group[] state laws and certify[] subclasses” of

states with materially similar laws. Id; Thomas v. UBS AG, 706 F.3d 846, 849 (7th Cir. 2013) (“The

problem of choice of law created by a nationwide class action governed by laws of different states

or other jurisdictions is usually solved by the district court's certifying a different subclass for class

members in each jurisdiction whose law differs in some relevant respect from that of the other

jurisdictions in which members of the class reside or the allegedly unlawful acts were

committed.”). The Court also retains discretion to narrow or decertify the class if the task of

construing the various state laws becomes unmanageable. Fed. R. Civ. P. 23(c)(1)(C).

        B. Superiority
        In addition to predominance, Rule 23(b)(3) requires that the Court determine whether “a

class action is superior to other available methods for fairly and efficiently adjudicating the

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controversy.” Fed. R. Civ. P. 23(b)(3). “When a court finds that common questions predominate,

they generally also find that superiority is also met.” In re Dealer Mgmt. Sys. Antitrust Litig., 2024

WL 3509668, at *16; Moehrl, 2023 WL 2683199, at *22 (“[T]he predominance and superiority

inquiry are intertwined: generally, the more that common issues predominate, the more likely that

a class action is the superior vehicle for deciding the controversy.”) (internal quotes and citations

omitted). “Superiority will be found when a class action would achieve economies of time, effort,

and expense, and promote uniformity of decision as to persons similarly situated, without

sacrificing procedural fairness or bringing about other undesirable results.” In re Dealer Mgmt.

Sys. Antitrust Litig., 2024 WL 3509668, at *16 (internal quotes and citation omitted).

       Defendants do not dispute that a class action is the superior method for the DPP class to

bring their claims. Given that the vast majority of class members have not opted out and for most

class members, the individual damages are smaller than the resources required to litigate individual

suits, a class action is a superior vehicle for deciding DPPs’ case. Other than their argument above

regarding variations in state laws governing indirect purchaser actions, Defendants do not make

any additional arguments about whether a class action is the superior means of resolving the

CIIPPs’ claims. Multiple lawsuits by the large number of DPP and CIIPP class members allegedly

injured by Defendants’ antitrust violations would be costly and inefficient. Moreover, the Court’s

findings as to predominance support a finding that a class action is superior method to address

Plaintiffs' claims. Because the same alleged illegal anticompetitive conduct by Defendants gives

rise to each class member’s injury, adjudicating this issue on a class-wide basis is the superior

method of resolving Plaintiffs’ claims. Tuna, 332 F.R.D. at 329, 336 (S.D. Cal. 2019) (“Any trial—

whether it involves a single plaintiff or a class—will involve the same legal questions and evidence

regarding Defendants' conduct.”). As in Broilers, there is not “another available method to address



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Plaintiffs’ claims that is superior to certifying a class.” Broilers, 2022 WL 1720468, at *20.

Accordingly, Plaintiffs satisfy Rule 23(b)(3)’s requirement that a class action is the superior

method of resolving the injuries caused by Defendants’ alleged conspiracy.

                                       IV. Ascertainability

       “Aside from the textual requirements provided for in Rule 23, the Seventh Circuit also

requires plaintiffs to prove that the proposed class is ascertainable.” In re Dealer Mgmt. Sys.

Antitrust Litig., 2024 WL 3509668, at *8. Defendants do not challenge the ascertainability of the

DPP class or CIIPP class. The Court finds that both classes are ascertainable because they are

“defined clearly and based on objective criteria.” Mullins, 795 F.3d at 659. The classes in this case

do not suffer from any of the “three common problems” that have caused unascertainable classes:

vagueness, classes defined by subjective criteria, and classes defined in terms of success on the

merits. Id. at 659-60. Both classes are therefore sufficiently ascertainable for certification.

                                          CONCLUSION
       For the reason stated above, and after conducting the required rigorous analysis, Plaintiffs’

motions for class certification [828, 836] are granted. Defendants’ motions to exclude the expert

opinions of Dr. Russell Mangum and Michael A. Williams, Ph.D. [887, 893] are denied. Plaintiffs’

motion to exclude expert testimony of Lauren Stiroh [831] is granted in part and denied in part.

Direct Purchaser Plaintiffs’ motion to strike [941] is granted in part and denied in part. Pursuant

to Rule 23(g), the Court appoints: (1) Hagens Berman Sobol Shapiro LLP and Lockridge Grindal

Nauen P.L.L.P., which the Court previously appointed as interim co-lead class counsel (Doc. 143),

to serve as co-lead class counsel for the DPP class and (2) Michael J. Flannery of Cuneo Gilbert

& LaDuca, LLP and Sterling Aldridge of Barrett Law Group, P.A., whom the Court previously

appointed as interim co-lead counsel, to serve as CIIPP Class Counsel (Docs. 433, 950).



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SO ORDERED.


Dated: January 22, 2025                     ______________________________
                                            Sunil R. Harjani
                                            United States District Judge




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